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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



KATE CONROY, NOREEN CONROY,                                      No.: 2:20-cv-17837
GERALD PRECOURT, JUN PIDLAOAN,
NATHANIEL BIVENS, and IVY VILLALTA
individually and on behalf of others similarly             CLASS ACTION COMPLAINT
situated,

                    Plaintiffs,                            DEMAND FOR JURY TRIAL

              vs.

VOLKSWAGEN GROUP OF AMERICA, INC.
and VOLKSWAGEN AG,

                    Defendants.


        Plaintiffs Kate Conroy, Noreen Conroy, Gerald Precourt, Jun Pidlaoan, Nathaniel Bivens,

and Ivy Villalta bring this action against Defendant Volkswagen Group of America, Inc. and

Volkswagen AG (collectively, “Defendants” or “Volkswagen”), by and through their attorneys,

individually and behalf of all others similarly situated, and allege as follows:

                                            INTRODUCTION

        1.      This is a class action lawsuit brought by Plaintiffs on behalf of themselves and a

class of current and former owners and lessees of model years (“MY”) 2018 and 2019

Volkswagen GTI, Golf, Jetta, Passat and Tiguan vehicles equipped with 2.0L TSI engines (the

“Class Vehicles” or “Vehicles”).1

        2.      This action arises from Volkswagen’s failure, despite its longstanding knowledge,

to disclose to Plaintiffs and other consumers that the engines in the Class Vehicles are



1
 Plaintiffs reserve the right to amend or add to the vehicle models included in the definition of Class
Vehicles after conducting discovery.

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predisposed to a manufacturing defect which causes them to suddenly and unexpectedly stall and

stop while being operated. (“Engine Stalling Defect”).

       3.      Such stalling causes the Class Vehicles to abruptly stop, posing a danger to the

driver and occupants of the Class Vehicles, and others that share the road with them, as other

vehicles can collide with the Class Vehicle that has stopped moving without warning.

       4.      Not only did Volkswagen actively conceal the fact that the Class Vehicles were

prone to the Engine Stalling Defect, which could result in sudden and unexpected slowing and

stopping events and other dangerous situations (and require costly repairs to fix), it did not reveal

that the existence of this Defect would diminish the intrinsic and resale value of the Class

Vehicles.

       5.      Volkswagen has long been aware of the Engine Stalling Defect. Despite its

longstanding knowledge, Volkswagen has been unable or unwilling to adequately repair the

Class Vehicles when the Engine Stalling Defect manifests.

       6.      Many owners and lessees of Class Vehicles have communicated with Defendants

and its agents to request that Volkswagen remedy and/or address the Engine Stalling Defect at

Defendants’ expense. Defendants have failed and/or refused to do so, often conveying to owners

and lessees that the Class Vehicles are operating as intended and therefore cannot be repaired

under warranty or otherwise.

       7.      Despite notice and knowledge of the Engine Stalling Defect from the numerous

consumer complaints it has received and that have been posted online, as well as information

received from Volkswagen dealerships, pre-sale durability testing, National Highway Traffic

Safety Administration (“NHTSA”) complaints, and its own internal records, Volkswagen has not

recalled the Class Vehicles to repair the Engine Stalling Defect, offered its customers a suitable



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repair or replacement free of charge, or offered to reimburse its customers who have incurred out

of pocket expenses related to the Engine Stalling Defect.

       8.      As a result of Volkswagen’s unfair, deceptive and/or fraudulent business

practices, owners and/or lessees of Class Vehicles, including Plaintiffs, have suffered an

ascertainable loss of money and/or property and/or loss in value. The unfair and deceptive trade

practices committed by Volkswagen were conducted in a manner giving rise to substantial

aggravating circumstances.

       9.      Had Plaintiffs and other Class members known about the Engine Stalling Defect

at the time of purchase or lease of their vehicles, they would not have purchased or leased the

Class Vehicles, or would have paid substantially less for the Class Vehicles.

       10.     As a result of the Engine Stalling Defect, Plaintiffs and Class members have

suffered injury in fact, incurred damages and have otherwise been harmed by Volkswagen’s

conduct.

       11.     Accordingly, Plaintiffs bring this action to redress Volkswagen’s violations of the

New Jersey Consumer Fraud Act, New York General Business Law, Florida Deceptive and

Unfair Trade Practices Act, California Consumer Legal Remedies Act, California Business and

Professions Code, California’s Song-Beverly Consumer Warranty Act, and Magnusson-Moss

Warranty Act, Ohio Consumer Sales Practices Act and also to seek recovery for Volkswagen’s

unjust enrichment, breach of express warranty, breach of implied warranty, common law fraud,

and breach of the covenant of good faith and fair dealing.

                                JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more class members,



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(ii) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of interest and

costs, and (iii) there is minimal diversity because at least one plaintiff and one defendant are

citizens of different states. This Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. § 1367.

       13.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a

Volkswagen Group of America, Inc. is incorporated in New Jersey, a substantial part of the

events or omissions giving rise to the claim occurred in this district, Plaintiff Ivy Villalta resides

in this district, Volkswagen has advertised in this district, and Volkswagen has received

substantial revenue and profits from its sales and/or leasing of Class Vehicles in this district.

Volkswagen Group of America, Inc. also maintains the following offices and/or facilities in New

Jersey: the “VW/Audi VCI Eastern Region” in Woodcliff, New Jersey; the “VW/Audi Test

Center” in Allendale, New Jersey; the “Product Liaison Office” in Fort Lee, New Jersey; and the

“Parts/Region Distribution Center” in Cranbury, New Jersey.

       14.     This Court has personal jurisdiction over Volkswagen because it is incorporated

under the laws of New Jersey and has conducted substantial business in this judicial district, and

intentionally and purposefully placed Class Vehicles into the stream of commerce within the

state of New Jersey, as well as throughout the United States.

                                          THE PARTIES

Plaintiffs Kate Conroy and Noreen Conroy

       15.     Plaintiffs Kate Conroy and Noreen Conroy are citizens of the State of Florida and

currently reside in Naples, Florida.

       16.     On or around January 25, 2019, Plaintiff Noreen Conroy leased a new 2019

Volkswagen Tiguan with automatic transmission from Volkswagen of Naples, an authorized



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Volkswagen dealership located in Naples, Florida. The Class Vehicle bears Vehicle

Identification Number 3VV3B7AXXKM066410. Noreen leased the Class Vehicle for Kate to

use as her primary vehicle, and Kate makes the monthly lease payments.

       17.     Prior to leasing their Class Vehicle, Plaintiff Kate Conroy viewed Volkswagen

marketing materials concerning the Class Vehicle online, viewed the Monroney sticker on the

vehicle, and spoke with Volkswagen sales representatives concerning the vehicle’s features.

Neither Defendants nor their agents, dealers, or other representatives disclosed the Defect to

Plaintiffs Kate or Noreen Conroy prior to or after the time of lease.

       18.     Within approximately one week of taking delivery of her Class Vehicle, Plaintiff

Kate Conroy (“Plaintiff Conroy” or “Plaintiff” for the remainder of this section) performed a U-

turn and her Class Vehicle stalled as she slowed down into the turn.

       19.     On or about February 25, 2019, Plaintiff brought her Class Vehicle to

Volkswagen of Naples. Volkswagen of Naples performed a “computer analysis” on Plaintiff

Conroy’s vehicle and advised her that her Class Vehicle was “operating properly as designed.”

       20.     Plaintiff’s Class Vehicle, however, continued to regularly stall as she slowed

down to approach traffic lights. After each stalling event, her Class Vehicle was not responsive,

and she was required to restart the vehicle.

       21.     On or about March 1, 2019, Plaintiff Conroy’s vehicle stalled again while she was

making a U-turn. Plaintiff called Volkswagen Customer Care to complain about the engine

stalling. Volkswagen Customer Care offered Plaintiff Conroy a credit of $5,000 toward the lease

of a new Audi vehicle.

       22.     Plaintiff Conroy felt her Class Vehicle was unsafe and returned to Volkswagen of

Naples to use the $5,000 credit. Plaintiff Conroy, however, was informed that the dealership



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would not honor the $5,000 credit. Plaintiff Conroy surrendered her 2019 Volkswagen Tiguan to

Volkswagen of Naples on or about March 5, 2019, with about 35 months remaining on the lease,

incurring an early termination fee of approximately $3,200 and the loss of the $2,490 deposit that

she had paid to Volkswagen of Naples.

       23.     On or about February 28, 2019, Plaintiff Conroy contacted Volkswagen Customer

Care to complain about the engine stalling in her vehicle.

       24.     On or about March 1, 2019, Plaintiff Conroy submitted a complaint about the

engine stalling in her vehicle to the National Highway Traffic Safety Administration.

       25.     On or about March 6, 2019, Plaintiff Conroy submitted a written complaint about

the engine stalling in her vehicle to the Florida Division of Motorist Services.

       26.     On or about March 9, 2019, Plaintiff Conroy submitted a letter to her United

States Senator about the engine stalling in her vehicle.

       27.     On or about March 13, 2019, Plaintiff Conroy submitted a written complaint

about the engine stalling in her vehicle to the Florida Attorney General’s Office.

       28.     Plaintiffs Kate and Noreen Conroy have suffered an ascertainable loss as a result

of Defendants’ omissions and/or misrepresentations associated with the Engine Stalling Defect,

including, but not limited to, out-of-pocket loss associated with the Engine Stalling Defect, lease

termination fees, and diminished value of their vehicle.

       29.     Neither Defendant, nor its agents, dealers or other representatives informed

Plaintiffs Kate or Noreen Conroy of the existence of the Engine Stalling Defect prior to

purchase.

       30.     Plaintiffs Kate and Noreen Conroy would not have purchased the Class Vehicle,

or would have paid substantially less for it, had Defendants disclosed the Engine Stalling Defect



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prior to sale.

Plaintiff Gerald Precourt

        31.      Plaintiff Gerald Precourt is a citizen of the State of New York, and currently

resides in Blossvale, New York.

        32.      On or about March 30, 2018, Plaintiff Precourt leased a new 2018 Volkswagen

Tiguan (2.0L) automatic transmission vehicle from Romano Volkswagen, an authorized

Volkswagen dealership located in Fayetteville, New York.

        33.      Plaintiff Precourt’s vehicle bears Vehicle Identification Number

3VV2B7AX7JM112723.

        34.      Prior to leasing his Class Vehicle, Plaintiff viewed Volkswagen marketing

materials concerning the Class Vehicle, including Volkswagen television commercials and

online advertising, viewed the Monroney sticker on the vehicle, and spoke with Volkswagen

sales representatives concerning the vehicle’s features. Neither Defendants nor their agents,

dealers, or other representatives disclosed the Defect to Plaintiff prior to or after the time of lease

        35.      On approximately 100 occasions since Plaintiff Precourt leased his 2018

Volkswagen Tiguan, it has stalled as he slowed down when nearing a traffic light or stop.

        36.      Each time that Plaintiff Precourt’s vehicle stalls, he waits a few seconds and it

restarts on its own before he is able to resume his drive.

        37.      On or about June 11, 2018, Plaintiff Precourt brought his vehicle to Romano

Volkswagen and indicated to the dealership that it had been stalling. Romano Volkswagen

requested that Plaintiff Precourt leave his Volkswagen Tiguan at the dealership overnight, which

he did. When Plaintiff Precourt retrieved his vehicle the following day, he noticed that it had 180

additional miles on it, but the dealership had not identified any problems with it and advised him



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that the stalling he described was “not a known problem.”

        38.     As a result of the Volkswagen dealership’s advice that his vehicle had no

problems, he continued to drive it with the ongoing stalling defect until he took it into the

dealership for a routine oil change on or about September 20, 2019.

        39.     At the September 20, 2019 service visit, Plaintiff Precourt told a technician at the

dealership about the stalling that he had been experiencing with his vehicle, and was advised

to add high-octane fuel to his vehicle to attempt to address the problem.

        40.     Plaintiff Precourt has filled up his vehicle with high-octane fuel on at least ten

occasions, but the stalling persists.

        41.     To date, Plaintiff Precourt continues to experience engine stalling with his 2018

Volkswagen Tiguan on a regular basis.

        42.     Plaintiff Precourt has suffered an ascertainable loss as a result of Defendant’s

omissions and/or misrepresentations associated with the Engine Stalling Defect, including, but

not limited to, out-of-pocket loss associated with the Engine Stalling Defect, future attempted

repairs, and diminished value of his vehicle.

        43.     Neither Defendant, nor its agents, dealers or other representatives informed

Plaintiff of the existence of the Engine Stalling Defect prior to his lease.

        44.     Plaintiff Precourt would not have leased his Class Vehicle, or would have paid

substantially less for it, had Defendant disclosed the Engine Stalling Defect prior to sale.

Plaintiff Jun Pidlaoan

        45.     Plaintiff Jun Pidlaoan is a citizen of the State of California, and currently resides

in Vallejo, California.

        46.     On or about June 20, 2020, Plaintiff Pidlaoan leased a new 2019 Volkswagen



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Jetta GLI (2.0L) standard transmission vehicle from Team Volkswagen of Hayward, an

authorized Volkswagen dealership located in Hayward, California.

        47.     Plaintiff Pidlaoan’s vehicle bears Vehicle Identification Number

3VW5T7BU6KM140492.

        48.     Prior to leasing his Class Vehicle, Plaintiff viewed Volkswagen marketing

materials concerning the Class Vehicle, including online advertising, viewed the Monroney

sticker on the vehicle, and spoke with Volkswagen sales representatives concerning the vehicle’s

features. Neither Defendants nor their agents, dealers, or other representatives disclosed the

Defect to Plaintiff prior to or after the time of lease.

        49.     On at least three occasions since Plaintiff Pidlaoan leased his 2019 Volkswagen

Jetta, it stalled as he slowed down when nearing a traffic light or stop sign. The stalling occurred

on or about the following dates: June 27, 2020, August 2, 2020, and August 15, 2020.

        50.     Each time that Plaintiff Pidlaoan’s vehicle stalls, he needs to turn off the engine

completely and restart it before resuming his drive.

        51.     Plaintiff Pidlaoan is concerned that the stalling of his VW Jetta may make it

unsafe to drive, so he contacted Team Volkswagen of Hayward for advice by phone on or about

August 4, 2020.

        52.     When Plaintiff Pidlaoan contacted Team Volkswagen of Hayward, he was

advised that he “need[ed] to adjust” to the vehicle, and that driving a standard transmission

vehicle is “different,” implying that he does not know how to drive a manual vehicle.

        53.     However, Plaintiff Pidlaoan’s 2019 Volkswagen Jetta is the third standard

transmission vehicle that he has owned or leased, and he has been driving manual vehicles for

approximately 30 years.



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       54.     Plaintiff Pidlaoan has asked Team Volkswagen of Hayward specifically about

having the stalling in his vehicle examined under the warranty that is still in effect, but was

advised that he would be charged unless the dealership “found something wrong with it.

       55.     Plaintiff Pidlaoan is concerned that Team Volkswagen of Hayward will advise

him that nothing is wrong with his vehicle so that he will have to pay a service charge, and thus

has not yet presented it for examination.

       56.     To date, Plaintiff Pidlaoan continues to experience engine stalling with his 2019

Volkswagen Jetta on a regular basis.

       57.     Plaintiff Pidlaoan has suffered an ascertainable loss as a result of Defendants’

omissions and/or misrepresentations associated with the Engine Stalling Defect, including, but

not limited to, out-of-pocket loss associated with the Engine Stalling Defect, future attempted

repairs, and diminished value of his vehicle.

       58.     Neither Defendant, nor its agents, dealers or other representatives informed

Plaintiff of the existence of the Engine Stalling Defect prior to his lease.

       59.     Plaintiff Pidlaoan would not have leased his Class Vehicle, or would have paid

substantially less for it, had Defendants disclosed the Engine Stalling Defect prior to sale.

Plaintiff Nathaniel Bivens

       60.     Plaintiff Nathaniel Bivens is a citizen of the State of Ohio, and currently resides in

Williamsport, Ohio.

       61.     On or about September 27, 2019, Plaintiff Bivens purchased a new 2019

Volkswagen Jetta GLI (2.0T) Autobahn standard transmission vehicle from Volkswagen

Clarksburg in Clarksburg, WV.

       62.     Plaintiff Bivens’ vehicle bears Vehicle Identification Number



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3VW5T7BU0KM224422.

        63.     Prior to purchasing his Class Vehicle, Plaintiff viewed Volkswagen marketing

materials concerning the Class Vehicle, online advertising, viewed the Monroney sticker on the

vehicle, and spoke with Volkswagen sales representatives concerning the vehicle’s features.

Neither Defendants nor their agents, dealers, or other representatives disclosed the Defect to

Plaintiff prior to or after the time of purchase.

        64.     On multiple occasions since Plaintiff Bivens purchased his 2019 Volkswagen

Jetta, it stalled as he slowed down when nearing a traffic light or stop sign. The first discrete

occurrence Plaintiff recalls was in early to mid-June 2020. Additionally, Plaintiff Bivens

specifically recalls that he experienced a stalling event on July 20, 2020.

        65.     Each time that Plaintiff Bivens’ vehicle stalls, he needs to turn off the engine

completely and restart it before resuming his drive.

        66.     Plaintiff Bivens is concerned that the stalling of his VW Jetta makes it unsafe to

drive, so he brought his vehicle into Byers Volkswagen in Columbus, Ohio for analysis and

repair on or about July 22, 2020 following the stalling event on July 20, 2020.

        67.     The service advisor at Byers Volkswagen essentially blamed Plaintiff for the

issues with his vehicle and told him that clutch replacement would not be covered under his

warranty. He was presented with a repair estimate of $4,673.32. At the time the vehicle was only

10 months old with just 18,355 miles on the odometer. Plaintiff Bivens emailed and called VW’s

national customer service, but VW declined to repair his vehicle under warranty. Plaintiff was

informed that he did not know how to drive the vehicle properly.

        68.     However, Plaintiff Bivens’ 2019 Volkswagen Jetta is the third standard

transmission Jetta and his fourth standard transmission VW vehicle that he has owned. Having



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grown up in a farming community, Plaintiff is very familiar with standard transmission vehicles

and is a skilled and experienced driver with more than 20 years of manual transmission driving

under his belt. At just 16 years old, Plaintiff started out driving his father’s VW Rabbit Diesel

and until this experience was an extremely loyal VW customer.

       69.     To date, Plaintiff Bivens continues to experience engine stalling with his 2019

Volkswagen Jetta, despite efforts to stop using the vehicle as the result of the safety concerns

posed by the Engine Stalling Defect.

       70.     Plaintiff Bivens has suffered an ascertainable loss as a result of Defendants’

omissions and/or misrepresentations associated with the Engine Stalling Defect, including, but

not limited to, out-of-pocket loss associated with the Engine Stalling Defect, future attempted

repairs, and diminished value of his vehicle.

       71.     Neither Defendant, nor its agents, dealers or other representatives informed

Plaintiff of the existence of the Engine Stalling Defect prior to his purchase.

       72.     Plaintiff Bivens would not have purchased his Class Vehicle, or would have paid

substantially less for it, had Defendants disclosed the Engine Stalling Defect prior to sale.

Plaintiff Ivy Villalta

       73.     Plaintiff Ivy Villalta is a citizen of the State of New Jersey, and currently resides

in Pompton Lakes.

       74.     In or about September 2019 Plaintiff Villalta leased a new 2019 Volkswagen

Tiguan (2.0L) automatic transmission vehicle from Paul Miller Volkswagen, an authorized

Volkswagen dealership located in Bernardsville, New Jersey.

       75.     Plaintiff Villalta’s vehicle bears Vehicle Identification Number

3VV2B7AX4KM115967.



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       76.     Prior to leasing her Class Vehicle, Plaintiff viewed Volkswagen marketing

materials concerning the Class Vehicle, including viewing Volkswagen television commercials,

viewing the Monroney sticker on the vehicle, and speaking with Volkswagen sales

representatives concerning the vehicle’s features. Neither Defendants nor their agents, dealers, or

other representatives disclosed the Defect to Plaintiff prior to or after the time of lease.

       77.     On approximately 20 to 30 occasions since Plaintiff Villalta leased her 2019

Volkswagen Tiguan, it has stalled as she slowed down when nearing a traffic light or stop.

       78.     Each time that Plaintiff Villalta’s vehicle stalls, she waits a few seconds and it

restarts on its own before she is able to resume her drive.

       79.     In or around June of 2020, Plaintiff Villalta brought her vehicle to Crestmont

Volkswagen in Pompton Plains, New Jersey and indicated to the dealership that it had been

stalling. Volkswagen requested that Plaintiff Villalta leave her Volkswagen Tiguan at the

dealership overnight, which she did. When Plaintiff Villalta retrieved her vehicle after several

days, she was advised that they drove it for many miles but they could not reconstruct the issue.

       80.     Plaintiff brought her vehicle to Crestmont Volkswagen in Pompton Plains, New

Jersey approximately two additional times, in July of 2020 and September of 2020. Each time,

when she retrieved her vehicle, she was advised that they had driven it for many miles but they

could not reconstruct the issue. However, the most recent time she took her vehicle to the

dealership, she was advised that there was an emissions recall and a software update needed, and

that those repairs should resolve the issue. She had the recommended repairs performed but they

did not resolve the issue.

       81.     To date, Plaintiff Villalta continues to experience engine stalling with her 2019

Volkswagen Tiguan on a regular basis.



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          82.      Plaintiff Villalta has suffered an ascertainable loss as a result of Defendant’s

omissions and/or misrepresentations associated with the Engine Stalling Defect, including, but

not limited to, out-of-pocket loss associated with the Engine Stalling Defect, future attempted

repairs, and diminished value of her vehicle.

          83.      Neither Defendant, nor its agents, dealers or other representatives informed

Plaintiff of the existence of the Engine Stalling Defect prior to her lease.

          84.      Plaintiff Villalta would not have leased her Class Vehicle, or would have paid

substantially less for it, had Defendant disclosed the Engine Stalling Defect prior to sale.

The Defendant

          85.      Defendant Volkswagen Group of America, Inc. (“Volkswagen USA”) is a New

Jersey corporation with its principal place of business located at 2200 Ferdinand Porsche Drive,

Herndon, Virginia 20171.

          86.      Defendant Volkswagen USA is a “wholly owned subsidiary of Volkswagen AG,

one of the world’s leading automobile manufacturers and the largest carmaker in Europe.”2

          87.      Volkswagen AG is headquartered in Wolfsburg, Germany.

          88.      Volkswagen manufactures, distributes, markets, services, repairs, sells and leases

passenger vehicles, including the Class Vehicles.

          89.      There exists, and at all relevant times existed, a unity of ownership between

Volkswagen USA, Volkswagen AG, and their agents such that any individuality or separateness

between them has ceased and each of them is the alter ego of the others.

          90.      Volkswagen USA communicates with Volkswagen AG concerning virtually all

aspects of the Volkswagen products Volkswagen USA distributes, sells, warrants and services



2
    http://www.volkswagengroupofamerica.com/about (last visited September 25, 2020).

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within the United States, including appropriate repairs for defects and whether Volkswagen will

repair defective parts and assemblies.

       91.     At all times material to this Complaint, Volkswagen has advertised, marketed,

offered for sale, sold, offered for lease, leased, and distributed motor vehicles to consumers in

throughout the United States, including the Class Vehicles.

       92.     Volkswagen AG and Volkswagen of America jointly develop sales and marketing

materials, advertisements, owner’s manuals, warranty booklets, and maintenance

recommendations and schedules for the Class Vehicles. Upon information and belief, the design,

manufacture, distribution, service, repair, modification, installation and decisions regarding the

Class Vehicles were performed exclusively by Volkswagen.

       93.     Volkswagen AG and Volkswagen USA also jointly design, determine the

substance of, and affix to Volkswagen vehicles the window stickers visible on every new

Volkswagen vehicle offered for sale at their authorized dealerships. Volkswagen controls the

content of these “Monroney” stickers—its authorized dealerships have no input with respect to

their content. Vehicle manufacturers like Volkswagen are legally required to affix a window

sticker to every vehicle offered for sale in the United States pursuant to the Automobile

Information Disclosure Act of 1958, 15 U.S.C. § 1231 et seq., which, among other things,

prohibits the removal or alteration of the sticker by anyone other than the ultimate purchaser

prior to the sale of the car, including the dealership at which the vehicle is offered for sale.

       94.     Volkswagen engages in continuous and substantial business in New Jersey as well

as throughout the United States.

                         TOLLING OF STATUTES OF LIMITATION

       95.     Any applicable statute(s) of limitations has been tolled by Volkswagen’s knowing



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and active concealment and denial of the facts alleged herein. Plaintiffs and members of the

Class could not have reasonably discovered the true, latent defective nature of the Engine

Stalling Defect until shortly before this class action litigation was commenced.

       96.     Volkswagen was and remains under a continuing duty to disclose to Plaintiffs and

members of the Class the true character, quality and nature of the Class Vehicles, that the Engine

Stalling Defect is a safety related defect, and that it diminishes the resale value of the Class

Vehicles. As a result of the active concealment by Volkswagen, any and all applicable statutes of

limitations otherwise applicable to the allegations herein have been tolled.

                                  FACTUAL ALLEGATIONS

A.     The Engine Stalling Defect

       97.     The engines contained in the Class Vehicles use four reciprocating pistons to

convert pressure into a rotating motion. Gasoline is mixed with air in the combustion chambers

of the engine. To generate such rotating motion, a four-step sequence is used (the “Combustion

Cycle”).

       98.     First, the intake stroke begins with the inlet valve opening, by way of the intake

camshafts, and a vaporized fuel mixture is pulled into the combustion chamber. Second, the

compression stroke begins with the inlet valve closing, again through the intake camshafts, and

the piston beginning its movement upward, compressing the fuel mixture in the combustion

chamber. Third, the power stroke begins when the spark plug ignites the fuel mixture, expanding

the gases and generating power that is transmitted to the crankshaft. And, fourth, the exhaust

stroke begins with the exhaust valve opening and the piston moving back up, forcing the exhaust

gases out of the cylinder. The exhaust valve then closes, the inlet valve opens, and the

Combustion Cycle repeats itself. A diagram depicting the Combustion Cycle appears below:



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       99.     The pistons are connected to the crankshaft via the connecting rod. As the

connecting rod moves up and down during the Combustion Cycle, this causes the crankshaft to

rotate, ultimately resulting in power to the drive wheels of the vehicle. During this cycle, the

crankshaft rotates many thousands of times per minute within each connecting rod.

       100.    The Combustion Cycle is a complex process that requires precise timing of the

many components involved. For example, the valves must be opened and closed at the exactly

correct times and the spark plugs must ignite the fuel mixture to create the power stroke.

       101.    In an attempt to keep all of the engine components moving in harmony during the

Combustion Cycle, Defendants utilize a variable valve timing system.

       102.    According to Defendants, “the key feature that enables the new engine to produce

better fuel economy, as well as excellent performance, is the variable valve timing system on the

intake camshaft. Depending on engine load, it is possible to switch between short and long valve

opening. At idling speed and under partial load, the valve opening is shorter. When the engine is



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placed under greater load, a switch to the camshaft lobe that opens the valve for a longer period

is made and the driver can make use of the full power and torque of the engine.”3

           103.     The variable valve timing system in the Class Vehicles incorporates the use of

solenoids to precisely control the flow of oil into the camshaft actuator. In turn, the solenoids are

able to change the rotation of the camshaft to adjust valve timing and valve overlap while the

vehicle is being operated. One of the advantages of this system can be better performance and

fuel economy.

           104.     The solenoids are typically in an “off” position when the engine is off and

immediately after it has started. Once oil pressure builds within the engine, the powertrain

control module adjusts the camshaft timing via the actuator solenoid depending on variables such

as engine speed, throttle position, manifold pressure, engine load, barometric pressure and the

position of the camshaft.

           105.     The Class Vehicles contain a manufacturing defect that results in the inability of

the actuator solenoids to accurately correct and adjust the timing of the camshafts as required to

carry out the Combustion Cycle. As a result, the Combustion Cycle cannot be completed, and the

Class Vehicles suddenly and unexpectedly stall while being operated.

B.         Volkswagen’s Knowledge of the Engine Stalling Defect

           106.     Upon information and belief, Volkswagen, through: (1) its own records of

customers’ complaints, (2) dealership repair records, (3) records from the National Highway

Traffic Safety Administration (NHTSA), (4) warranty and post-warranty claims, (5) internal pre-

sale durability testing and TSBs, and (6) other various sources, is and was well aware of the

Engine Stalling Defect but failed to notify customers of the nature and extent of the problems



3
    https://media.vw.com/releases/889 (last visited September 25, 2020).

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with Class Vehicles or to provide any adequate remedy.

         107.     Volkswagen failed to adequately research, design, test and/or manufacture the

Class Vehicles before warranting, advertising, promoting, marketing, and selling them as

suitable and safe for use in an intended and/or reasonably foreseeable manner.

         108.     Volkswagen is experienced in the design and manufacture of consumer vehicles.

As an experienced manufacturer, Volkswagen conducts tests, including pre-sale durability

testing, on incoming components, to verify that the parts and features are free from defect and

align with Volkswagen’s specifications.

         109.     Volkswagen touts its quality efforts to investors:

         Every day, we actively assume and exercise responsibility in relation to the
         environment, safety and society, and we aim to be a role model in these areas.
         Integrity, reliability, quality and passion thus form the basis for our work. Using
         this approach, we aim for technological leadership in the industry and competitive
         profitability while also striving to be an excellent employer.4

         110.     Volkswagen further tells investors about its Together 2025+ Strategy as part of its

quality control efforts:

         Delivering outstanding quality and reliable mobility to customers worldwide is the
         strategic objective of the Quality Assurance department. As the “voice of the
         customer” the principle of dual control is relied on in critical company processes;
         products that are superior to those of the competition are developed within budget
         requirements. The department’s commitment to quality runs the gamut of current
         and future mobility solutions – vehicles as well as services. Last but not least, all
         markets will pay close attention to differing regional needs to make a substantial
         contribution to the Volkswagen Group’s sustainable growth.5

         111.     Through its quality control measures, Volkswagen knew or should have known

that the Class Vehicles were prone to the Engine Stalling Defect.

C.       Volkswagen’s Warranties on the Class Vehicles


4
  https://annualreport2019.volkswagenag.com/servicepages/filelibrary/files/collection.php at p.51 (last visited
September 25, 2020).
5
  https://www.volkswagenag.com/en/group/strategy.html (last visited September 25, 2020).

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           112.    Volkswagen expressly warranted the Class Vehicles to be free from defects for a

period of six (6) years or 72,000 miles under the New Vehicle Limited Warranty.6 The New

Vehicle Limited Warranty obligates Defendants to correct to the Engine Stalling Defect.

           113.    Volkswagen has evaded its warranty obligations by failing to tell consumers that

their vehicles are defective and by blaming the manifestation of the Engine Stalling Defect on

driver error. This representation, however, is false as the engine is inherently defective.

           114.    In many instances, consumers have incurred and will continue to incur expenses

for the diagnosis of the defect (despite such defect having been contained in the Class Vehicles

when manufactured by Defendants) and repair and replacement of the damaged engine

components, without addressing the underlying defect.

           115.    Furthermore, a number of class members who presented their Class Vehicles to

Defendants’ dealerships with the Engine Stalling Defect were denied warranty repairs and,

instead, were informed that nothing was wrong with their vehicles. As a result, after expiration of

the warranty period, class members are forced to pay costly repairs to remedy the defect.

           116.    Buyers, lessees, and other owners of the affected Vehicles were without access to

the information concealed by Volkswagen as described herein, and therefore reasonably relied

on Volkswagen’s representations and warranties regarding the quality, durability, and other

material characteristics of the Class Vehicles. Had Plaintiffs and the class known of the Engine

Stalling Defect and the potential harm, they would have paid less for the Class Vehicles or would

not have purchased the Class Vehicles.

D.         Complaints by Other Class Members

           117.    Plaintiffs’ experiences are by no means isolated or outlying occurrences. Indeed,



6
    https://www.vw.com/content/vwcom/en/warranty.html (last visited September 25, 2020).

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the internet is replete with examples of blogs and other websites where consumers have

complained of the exact same Engine Stalling Defect in the Class Vehicles.7

        118.     Class Vehicle owners and lessees have publicly complained to the United States

government about the Engine Stalling Defect in Class Vehicles since the vehicles were released.

The Office of Defects Investigation (“ODI”) is an office within the National Highway Traffic

Safety Administration (“NHTSA”). ODI conducts defect investigations and administers safety

recalls to support the NHTSA’s mission to improve safety on the Nation’s highways.8 All

automobile manufacturers routinely monitor and analyze NHTSA complaints because this

information is used in determining if a recall should be issued.

        119.     NHTSA’s Office of Defects Investigation opened an investigation into the Engine

Stalling Defect in the Class Vehicles in September of 2019. See Exhibit A.

        120.     The letter notifying Defendants of the Investigation states that NHTSA had

received 157 complaints from consumers alleging engine stalling, with the complaint that

initiated NHTSA’s investigation alleging that “the manual transmission equipped Volkswagen . .

. vehicles stall repeatedly throughout a drive cycle requiring repeated restarts.”

        121.     The following is just a small sampling of the many complaints submitted to ODI

by Volkswagen GTI, Jetta, Tiguan and Passat owners. These publicly available complaints,

submitted as early as 2016, evidence Volkswagen’s prior knowledge of the Engine Stalling

Defect, the negative experiences encountered by Class Members, and the financial burden this

places on them.

                                                    2019 GTI

7
  See, e.g., https://www.golfmk7.com/forums/index.php?threads/2019-gti-6mt-stalling-issue.363310/ (last visited
September 25, 2020); https://www.carproblemzoo.com/volkswagen/tiguan/car-stall-problems.php (last visited
September 25, 2020).
8
  See https://www-odi.nhtsa.dot.gov/recalls/recallprocess.cfm (last visited September 25, 2020). Indeed, automobile
manufacturers are required by law to report any potential safety defects to the United States government.

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NHTSA ID Number: 11193831
Complaint Date: April 4, 2019
Incident Date March 30, 2019
Consumer Location SAVANNAH, GA
Vehicle Identification Number 3VW5T7AU3KM****
Summary of Complaint
ENGINE SHUTS OFF/STALLS WHEN BRAKING TO A STOP IN A 6MT URANO GREY
GOLF GTI RABBIT EDITION. ON DOZENS OF OCCASIONS AT THIS POINT, WITH NO
CHECK ENGINE LIGHT OR ENGINE CODES BEING DROPPED. I WILL BE IN
NEUTRAL OR WITH THE CLUTCH FULLY ENGAGED, USUALLY COMING TO A STOP
BUT HAS ALSO HAPPENED WHEN ROLLING SLOWLY, AND THE CAR WILL STALL
OUT. IT HAS BEEN SO GENTLE THAT I DON'T EVEN NOTICE UNTIL I PRESS THE
GAS AND START MOVING AND NOTHING HAPPENS.

IT HAS OCCURRED DURING HEAVY BRAKING AND LIGHT BRAKING, USUALLY
AFTER A LONGER DRIVE. TENDS TO OCCUR IN BURSTS, I'VE GONE TWO WEEKS
WITH NO INCIDENTS AND THEN ON A SINGLE DRIVE (AFTER ABOUT 3 HOURS ON
THE HIGHWAY) IT WILL OCCUR MULTIPLE TIMES IN RAPID SUCCESSION, BUT
WON'T BE CONSISTENT. I AM NOT STALLING THE CAR BY HAVING THE CLUTCH
PARTIALLY ENGAGED OR ANYTHING, I WILL BE IN FULL NEUTRAL OR WITH THE
CLUTCH TO THE FLOOR AND FOOT OFF THE GAS.

I HAVE HAD THE ISSUE WHEN SLOWING TO AN INTERSECTION PREPARING FOR A
TURN, OR WHEN BRAKING TO A STOP TRAVELING STRAIGHT. HAVE ALSO HAD
THE ISSUE WHEN SLOWING DOWN FROM HIGHWAY SPEEDS AND STOP-AND-GO
TRAFFIC SPEEDS. ITS VERY DIFFICULT TO PIN DOWN, WITH THE EXCEPTION OF
USUALLY AFTER EXTENSIVE DRIVING, HAVEN'T HAD IT HAPPEN AFTER A <10
MIN DRIVE YET THAT I CAN REMEMBER.

CURRENTLY BEING ENCOUNTERED BY SEVERAL OTHER OWNERS, AND WE'RE
TRYING TO CONSOLIDATE WHAT WE KNOW:

HTTPS://WWW.REDDIT.COM/R/GOLFGTI/COMMENTS/B9CPB7/POSSIBLE_2019_6MT_
STALL_ISSUE_YOUR_FEEDBACK/

HTTPS://WWW.GOLFMK7.COM/FORUMS/SHOWTHREAD.PHP?P=776852#POST776852

HTTPS://WWW.REDDIT.COM/R/GOLFGTI/COMMENTS/AMH7H0/GOLF_GTI_MK75_ST
ALLING_COMING_TO_STOP_WITH_CLUTCH/

THE LATEST TIMES IN ATL TRAFFIC WHEN I WAS PREPARING TO MERGE FROM A
STOP INTO TRAFFIC AND IT STALLED OUT WHILE MOVING SLOWLY, ITS GETTING
DANGEROUS TO LOSE POWER WHEN YOU'RE IN TRAFFIC AND NEEDING IT.

NHTSA ID Number: 11193967

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Complaint Date April 4, 2019
Incident Date March 16, 2019
Consumer Location IRVINE, CA
Vehicle Identification Number 3VW5T7AU2KM****
Summary of Complaint
THE CAR WILL STALL WHEN SLOWING DOWN TO A STOP IN NEUTRAL, THEN
WILL REQUIRE RESTARTING. PROBLEM IS MORE PERSISTENT IN WARMER
TEMPERATURE AND ALSO WHEN THE OIL TEMPERATURE IS ABOVE 220
DEGREES. HOWEVER DOES NOT CAUSE CEL OR THROW ANY CODES. I AM
CONCERNED ABOUT MY SAFETY OPERATING THE VEHICLE IN THIS CONDITION
BECAUSE I CONSTANTLY HAVE TO RESTART THE CAR WHICH CAN PUT ME IN
VERY DANGEROUS SITUATION.

NHTSA ID Number: 11194331
Complaint Date: April 6, 2019
Incident Date April 6, 2019
Consumer Location MILTON, GA
Vehicle Identification Number 3VW5T7AU3KM****
I PURCHASED A 2019 GTI S ON MARCH 30TH 2019 AND IN ONE WEEK'S TIME I
STALLED OUT 7 TIMES. 3 OF THOSE 7 TIMES WERE WHEN I WAS AT A COMPLETE
STOP, IN NEUTRAL WITH MY FOOT ON THE BRAKE ONLY (NOT ON THE CLUTCH).
THE OTHER 4 TIMES WERE IN 2ND GEAR AT LOW SPEEDS BETWEEN 8 AND 10 MPH
WHEN I WAS EITHER PULLING INTO A DRIVEWAY OR GOING OVER A LONG BUT
LOW AND NOT AGGRESSIVE SPEED BUMP. THE STALL WOULD HAPPEN WHEN I
WOULD DEPRESS THE CLUTCH, NOT ON THE RELEASE.

NHTSA ID Number: 11194472
Complaint Date Aril 7, 2019
Incident Date March 6, 2019
Consumer Location OCEANSIDE, CA
Vehicle Identification Number 3VW5T7AU3KM****
Summary of Complaint
I HAVE THE 6-SPEED MANUAL TRANSMISSION. WHILE COMMUTING HOME ON
SURFACE STREETS AND STOPPED AT A STOPLIGHT WITH THE CAR IN NEUTRAL
AND THE CLUTCH OUT, THE CAR RANDOMLY STALLS. THIS ONLY HAS
HAPPENED WHILE IDLING AT A STOPLIGHT/STOP SIGN. I HAVE PLENTY OF GAS
AND NO CEL COMES UP. THE ENGINE IS WARM. IT HAPPENS WITHIN 1-2 SECONDS
AFTER COMING TO A COMPLETE STOP WITH THE CAR IN NEUTRAL. IT HAS
HAPPENED MANY TIMES BUT THEN EASILY STARTS AGAIN. IT’S A VERY GENTLE
STALL AND ALMOST FEELS LIKE THE CAR HAS AUTO STOP/START, WHICH MY
CAR DOES NOT. FORTUNATELY, THE DEALERSHIP WAS ABLE TO RECREATE THE
STALLING. THEY EVEN CONTACTED AND WORKED WITH VWOA BUT WERE NOT
ABLE TO DETERMINE EXACTLY WHAT THE PROBLEM WAS. THEY HAD THE CAR
FOR CLOSE TO 2 WEEKS TRIED SEVERAL DIFFERENT FIXES, BUT NONE WORKED.
SO WHEN ALL ELSE FAILS, THEY DID A “CAPACITIVE HARD REBOOT” OF THE
SYSTEM AND EVERYTHING SEEMED TO BE FIXED. HOWEVER, AFTER I PICKED

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THE CAR UP FROM THE DEALERSHIP, IT STALLED TWICE ON MY DRIVE HOME.
NOW, IT’S BEEN A COUPLE OF WEEKS SINCE THEN AND IT HASN’T STALLED
SINCE, BUT IT DOESN’T GIVE ME MUCH CONFIDENCE THAT IT WON’T RETURN IF
THEY DON’T KNOW WHAT THE REBOOT DID.

NHTSA ID Number: 11194966
Complaint Date April 9, 2019
Incident Date April 6, 2019
Consumer Location SMITHTOWN, NY
Vehicle Identification Number 3VW5T7AU7KM****
Summary of Complaint
MY CAR HAS ONLY 800 MILES ON IT. THE CAR IS EQUIPPED WITH A MANUAL
TRANSMISSION AND NO AUTO STOP/START SYSTEM. WHEN SLOWING DOWN
APPROACHING A RED LIGHT, I PUSH THE CLUTCH IN AND MOVE THE SHIFT
LEVER TO NEUTRAL. DURING THE LAST 5MPH OR SO, THE CAR WILL QUIETLY
STALL. I ONLY NOTICE IT STALLED WHEN I TRY TO GET MOVING AGAIN AND
REALIZE I HAVE TO START THE CAR. THIS HAS HAPPENED FIVE TIMES IN THE
PAST TWO WEEKS. I WANT TO NOTE THAT I HAVE FOUND REPORTS OF THE SAME
EXACT ISSUE WITH OTHER 2019 VW GTI OWNERS ON SEVERAL CAR FORUMS.
MANY OF THE OWNERS MENTION BRINGING THE CAR TO THE DEALER AND THE
DEALER STATING THEY "CANNOT REPLICATE THE ISSUE." I'M RELUCTANT TO
BRING IT TO THE DEALER AS THE ISSUE IS VERY DIFFICULT TO REPRODUCE AND
SEEMS TO HAPPEN AT RANDOM. I ALSO CAN'T AFFORD TO BE WITHOUT MY CAR
FOR A DAY OR TWO WHILE THEY ATTEMPT TO DIAGNOSE THE PROBLEM WITH
NO RESULTS.

NHTSA ID Number: 11195009
Complaint Date April 9, 2019
Incident Date April 7, 2019
Consumer Location MEDINA, OH
Vehicle Identification Number 3VW5T7AU1KM****
Summary of Complaint
I HAVE A 2019 GTI RABBIT EDITION WITH MANUAL TRANSMISSION. THE CAR
WILL STALL OUT AT RANDOM TIMES WHILE COMING TO A ROLLING STOP WHILE
THE CLUTCH PEDAL IS PRESSED ALL THE WAY DOWN. IT SEEMS TO HAPPEN ON
A WARMED UP ENGINE. IT DOESN'T HAPPEN ALL THE TIME, BUT AT RANDOM
TIMES WHEN I COME TO A ROLLING STOP. IT'S A VERY QUIET STALL AND
SOMETIMES YOU DON'T EVEN REALIZE IT STALLED OUT.

NHTSA ID Number: 11195459
Complaint Date April 10, 2019
Incident Date April 8, 2019
Consumer Location NEW YORK, NY
Vehicle Identification Number 3VW5T7AU6KM****
Summary of Complaint
WHILE DRIVING AT LOW SPEED THE ENGINE WILL STALL

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NHTSA ID Number: 11195492
Complaint Date April 10, 2019
Incident Date April 1, 2019
Consumer Location SHERMAN OAKS, CA
Vehicle Identification Number 3VW5T7AU6KM****
Summary of Complaint
CAR WILL SOFTLY STALL OUT WHEN I COME TO A STOP WITH THE CLUTCH
FULLY DEPRESSED OR THE STICK OUT OF GEAR. STARTED HAPPENING WITH
LESS THAN 200 MILES ON THE CAR. HAPPENED THREE SEPERATE OCCASIONS
BEFORE 420 MILES. CAR WILL RESTART RIGHT AWAY IN EVERY INSTANCE
EXCEPT FOR THE ONE RIGHT BEFORE 420 MILES. THAT INSTANCE THE CAR
STALLED, I HIT THE START BUTTON, STARTED AGAIN, THEN STALLED
IMMEDIATELY. STARTED AGAIN, STALLED AGAIN. STARTED AGAIN, STAYED
IDLE AND I STARTED MOVING.

NHTSA ID Number: 11195547
Complaint Date April 10, 2019
Incident Date April 11, 2019
Consumer Location PHILADELPHIA, PA
Vehicle Identification Number 3VW5T7AU7KM****
Summary of Complaint
THE CAR HAS 43 MILES ON IT AND IS STALLING WHEN COMING TO A STOP. IT’S
STALLING WHEN STATIONARY IN NEUTRAL WITH THE CLUTCH DEPRESSED. IT’S
ALSO STALLING IN GEAR WITH THE CLUTCH PRESSED (AT A STOP SIGN, CAR IN
FIRST GEAR, FOOT ON CLUTCH, RPMS DROP TO ZERO AND CAR QUIETLY JUST
TURNS OFF). IT DOESN’T RUMBLE LIKE A NORMAL MOTOR STALL WOULD, IT
JUST SHUTS OFF (LIKE AUTO ON/OFF WOULD ON A AUTOMATIC).

NHTSA ID Number: 11197189
Complaint Date April 18, 2019
Incident Date April 6, 2019
Consumer Location TEQUESTA, FL
Vehicle Identification Number 3VW5T7AUXKM****
Summary of Complaint
WHITE 2019 RABBIT EDITION 6MT, BUILD DATE OF 10/18, PURCHASED 4/6/19. ISSUE
BEGAN THE DAY OF PURCHASE WITH LESS THAN 100 MILES ON THE CAR. THE
VEHICLE WILL FREQUENTLY STALL WHEN THE CLUTCH IS FULLY DEPRESSED
SHORTLY BEFORE COMING TO A STOP. THE STALL IS UNCHARACTERISTIC OF
OTHER STALLS DUE TO DRIVER ERROR, AS IT CAN BARELY BE FELT THROUGH
THE CAR. THIS HAS HAPPENED WHEN THE CAR IS BOTH IN GEAR AND OUT OF
GEAR WHILE THE CLUTCH IS DEPRESSED. ONCE THE CAR STALLS, IT MUST BE
RESTARTED BY PRESSING THE IGNITION BUTTON AGAIN. AFTER THE ENGINE IS
RESTARTED, THE CAR WILL RESUME NORMAL DRIVING OPERATION UNTIL IT
STALLS WHILE COMING TO A STOP AGAIN. THE STALLING ONLY SEEMS TO
OCCUR WHEN THE CAR IS AT OPERATING TEMPERATURE.

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THE CAR HAS BEEN AT THE DEALER FOR DIAGNOSTICS TWICE, BOTH TIMES
HAVING NO RESULTS. A VW TECH WAS ABLE TO REPLICATE THE ISSUE, BUT WAS
UNABLE TO FIND ITS SOURCE.

NHTSA ID Number: 11203366
Complaint Date April 24, 2019
Incident Date March 31, 2019
Consumer Location SOUTH SAN FRANCISCO, CA
Vehicle Identification Number 3VW5T7AU2KM****
Summary of Complaint
THE VEHICLE HAS STALLED ON MULTIPLE OCCASIONS. MOST OF THE
OCCURRENCES HAVE BEEN WHEN COMING TO A STOP ON CITY STREETS. IT
DOES NOT MATTER IF THE CLUTCH IS PRESSED ALL THE WAY IN, OR IF VEHICLE
IS IN NEUTRAL. IT IS A VERY QUIET STALL, NO DASH LIGHTS COME ON, AND
STEERING WHEEL LOCKS. THE VEHICLE HAS TO BE STARTED AGAIN, AS IF IT
WAS NEVER RUNNING. IT IS UNKNOWN WHAT IS CAUSING THE ISSUE.

NHTSA ID Number: 11203470
Complaint Date April 24, 2019
Incident Date April 24, 2019
Consumer Location MEDFORD, OR
Vehicle Identification Number 3VW5T7AU4KM****
Summary of Complaint
MY ENGINE KEEPS HAVING A SOFT STALL. I HAVE A MANUAL RABBIT UNDER 1K
MILES. IT DOES THIS WHEN I COME TO A COMPLETE STOP. THIS IS THE SECOND
ISSUE I HAVE WITH THE CAR ALREADY. THE FIRST WAS A SENSOR, WHICH WAS
TAKEN CARE OF WITH EASE. NOW THIS ONE.

NHTSA ID Number: 11203843
Complaint Date April 26, 2019
Incident Date April 25, 2019
Consumer Location LAS VEGAS, NV
Vehicle Identification Number 3VW5T7AUXKM****
Summary of Complaint
I AM CONCERNED WHEN COMING TO A STOP UNEXPECTEDLY MY CAR WILL
START TO IDLE ROUGH AND THEN STALL. I’M CONCERNED IT WILL HAPPEN
WHILE DRIVING AND THAT I COULD BE HIT. CURRENTLY IT HAPPENS AT LOW
SPEED WHEN STOPPING AND I CANNOT KEEP THE CAR RUNNING WHEN I START
IT UP AGAIN. I AM HAVING TO REV THE ENGINE TO KEEP IT RUNNING AND MOVE
OFF THE ROAD. MY CAR HAS A MANUAL TRANSMISSION AND THE CLUTCH IS
FULLY PRESSED DOWN WHEN THIS HAPPENS. I HAVE MORE THAN 3/4 TANK OF
GAS WHEN THIS HAPPENED.

NHTSA ID Number: 11205318
Complaint Date May 2, 2019

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Incident Date April 23, 2019
Consumer Location SEATTLE, WA
Vehicle Identification Number 3VW5T7AU2KM****
Summary of Complaint
CAR SPORADICALLY STALLS AT STOP WHILE CLUTCH IS DEPRESSED. USUALLY
IN 1ST GEAR BUT SOMETIMES NEUTRAL OR 2ND. I NOTICE IT MORE WHEN
ENGINE SOUND IS SET TO SPORT MODE. USUALLY THE STALL IS SILENT, TWICE
THE CAR SLIGHTLY SHUDDERED. DEALER HAS HAD IT FOR A WEEK WITH NO
ABILITY TO PREDICTABLY RECREATE. NO CODES/FAULTS ARE THROWN, THUS
NO DIAGNOSIS. CAR IS AT WARMED UP OPERATING TEMPERATURE WHEN
STALLS OCCUR. STALLS ARE ALWAYS ON CITY STREETS ON A STRAIGHT PATH
(I.E. TIRES ARE NOT IN A TURNED POSITION). PURCHASED CAR WITH 12 MILES ON
IT, STALL OCCURRED 5 TIMES BETWEEN 20 AND 85 MILES. DEALER SENT ME
HOME WITH INSTRUCTION TO COME BACK IF IT HAPPENS AGAIN; CAR STALLED 3
MILES AWAY FROM THE DEALERSHIP AND I IMMEDIATELY RETURNED THE CAR
TO THEM FOR FURTHER RESEARCH. STILL NO DIAGNOSIS.

NHTSA ID Number: 11206298
Complaint Date May 8, 2019
Incident Date May 1, 2019
Consumer Location SCOTTSDALE, AZ
Vehicle Identification Number 3VW5T7AU0KM****
Summary of Complaint
VEHICLE UNEXPECTEDLY STALLS WHILE STATIONARY IN FIRST GEAR, CLUTCH
FULLY DEPRESSED. CAR WILL IDLE ROUGH THAN STALL. VEHICLE
UNEXPECTEDLY STALLS WHEN APPROACHING A STOP IN FIRST GEAR.
SOMETIMES STALLS QUIETLY, LIKE THE CAR TURNED OFF. HAD THE CAR A
WEEK AND HAPPENED ABOUT 10+ TIMES. DEALER TOLD ME CAN'T REPLICATE
THE PROBLEM, NOTHING TO FIX. CALLED VW CORPORATE TO LET THEM KNOW.

NHTSA ID Number: 11207142
Complaint Date May 12, 2019
Incident Date May 11, 2019
Consumer Location MEDIA, PA
Vehicle Identification Number 3VW5T7AU0KM****
Summary of Complaint
CAR IS AT 3500 MILES, BOUGHT NEW FROM DEALER. CAR IS MANUAL
TRANSMISSION. CAR HAS BEEN FINE UNTIL 5/11/19. WHILE STUCK IN HIGHWAY
TRAFFIC, THE CAR STALLED WITH THE CLUTCH DEPRESSED. 10 MINUTES AFTER
THE INCIDENT, THIS TIME OFF THE HIGHWAY, THE CAR STALLED WITH THE
CLUTCH DEPRESSED AGAIN WHEN I WAS STOPPING AT A STOP SIGN. IN CASE #1)
I WAS IN 1ST GEAR. THE STALL WAS VERY SMOOTH AND NOT NOTICED BY
PASSENGERS (I NOTICED IT DUE TO TACHOMETER FALLING TO 0). THE CLUTCH
WAS %100 DEPRESSED #2) I WAS IN 3RD OR 4TH GEARS. I WAS SLOWING DOWN
FOR A STOP SIGN. WHEN I CAME TO A STOP, THE CAR STALLED. I WAS ALERT
DUE TO THE FIRST INCIDENT AND MADE SURE TO TAKE NOTE OF WHAT

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HAPPENED. THE CLUTCH WAS ONCE AGAIN DEPRESSED.

IN BOTH CASES, THE CAR STALLED AND LEFT ME WITHOUT THE ABILITY TO
ACCELERATE OR STEER. LUCKILY THE PROBLEM HAPPENED WHILE STOPPING
AND NOT AT HIGH SPEEDS.

NHTSA ID Number: 11208223
Complaint Date May 17, 2019
Incident Date May 16, 2019
Consumer Location CHARLOTTE, NC
Vehicle Identification Number 3VW5T7AU3KM****
Summary of Complaint
MY VEHICLE STALLS AT IDLE FOR NO REASON. I HAVE TO RESTART MY ENGINE
OVER AND OVER WHEN COMING TO A STOP. IT SEEMS TO HAPPEN MORE OFTEN
WHEN ENGINE IS WARMED UP. THIS IS DEFINITELY A SAFETY ISSUE IF YOU
STALL WHILE WAITING TO TURN LEFT THROUGH TRAFFIC.

NHTSA ID Number: 11208287
Complaint Date May 17, 2019
Incident Date February 1, 2019
Consumer Location FAIRBORN, OH
Vehicle Identification Number 3VW5T7AU9KM****
Summary of Complaint
MY VEHICLE WOULD STALL OUT/ENGINE WOULD TURN OFF RANDOMLY ON ITS
OWN FROM A STOPPED POSITION AND MOVING MOTION. STARTED IN FEBUARY
2019 - CURRENT

- COMING DOWNHILL IN NEUTRAL TO A LIGHT. WHEN PROCEEDING AFTER IT
TURNED GREEN, I NOTICED MY ENGINE WAS OFF. I THEN PROCEEDED TO THE
NEXT LIGHT AND THE VEHICLE THEN CUT OFF ON ITS OWN AGAIN AT THE NEXT
LIGHT WHILE IN NEUTRAL WITH MY FOOT ON THE BRAKES. MY GAS METER WAS
AT 1/3 TANK AND I PROCEEDED TO THE NEAREST GAS STATION AFTER I
RESTARTED MY VEHICLE. AFTERWARDS, I WENT ON THE HIGHWAY AND WAS
COMING TO A SLOW DOWN DUE TO TRAFFIC AND SWITCH MY GEAR TO
NEUTRAL AND PRESSED ON THE BRAKES AND AS SOON AS I WAS COMING UP TO
THE CAR IN FRONT OF ME MY VEHICLES ENGINE SHUT OFF WHILE I WAS
COASTING AT 30-40MPH. I WAS STILL IN MOTION WHEN IT HAPPENED. I
PROCEEDED TO RESTART MY VEHICLE WHEN IT CAME TO A FULL STOP AND
CALLED MY DEALER.

- 2ND OCCURENCE HAPPEND WHEN I WAS SLOWING DOWN TO MAKE A RIGHT
TURN AND HAD MY FOOT ON THE CLUTCH PEDAL GOING INTO 2ND FROM 3RD.
MY VEHICLES ENGINE THEN CUTOFF AGAIN WHEN MY FOOT WAS STILL
PRESSED INTO THE CLUTCH PEDAL. I HAD RESTARTED THE CAR WHILE IN
MOTION TO AVOID INCOMING TRAFFIC TO ACCELERATE INTO THE TURN.



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- 3RD OCCURENCE HAPPENED AGAIN WHEN I WAS IN NEUTRAL COASTING INTO
MY PARKING SPOT AT MY APARTMENT, THE ENGINE CUT ITSELF OFF AGAIN.

-4TH OCCURENCE HAPPENED IN A SERIES, I WAS COMING UP TO A PARKING SPOT
IN NEUTRAL AND AS I BRAKED TO A COMPLETE STOP, MY ENGINE SHUT OFF. I
RESTARTED MY VEHICLE AND HAD IT DRIFT BACKWARDS IN NEUTRAL, IT HAD
SHUT OFF AGAIN WITHOUT MY STICK SHIFT BEING IN ANY GEAR SLOTS. I THEN
RESTARTED MY VEHICLE AND HAD IT IN FIRST GEAR TO MOVE INTO MY
PARKING SPACE AND AFTER MOVING FORWARD AND THEN GOING INTO
NEUTRAL TO BRAKE, THE ENGINE CUT OFF AGAIN.

- LAST INSTANCE WAS FROM A STOPPED POSITION TO A NEUTRAL COAST
LEAVING A PARKING LOT, THIS HAPPEND TWICE.

NHTSA ID Number: 11208346
Complaint Date May 17, 2019
Incident Date May 17, 2019
Consumer Location WAPPINGERS FALLS, NY
Vehicle Identification Number 3VW5T7AUXKM****
Summary of Complaint
CAR STALLS WHEN COMING TO A STOP WITH FOOT IN CLUTCH. ALSO, IF YOU
SHIFT FROM NEUTRAL TO FIRST, STILL WITH FOOT IN CLUTCH FULLY, IT WILL
SOMETIMES STALL. THE RANDOM STALLING IS NOT CAUSE BY THE USER
BECAUSE THE CLUTCH IS 100% DEPRESSED, YET THE CAR STILL SILENTLY
STALLS. ALONG WITH THIS, THE SHIFT INDICATOR IS NOT ALWAYS ACCURATE,
SOMETIMES I MAY BE IN 3RD, YET IT DISPLAYS THAT I AM IN 4TH.

NHTSA ID Number: 11208782
Complaint Date May 20, 2019
Incident Date May 11, 2019
Consumer Location RIDGEWOOD, NJ
Vehicle Identification Number 3VW5T7AUXKM****
Summary of Complaint
UPON COMING TO A COMPLETE STOP WITH THE CLUTCH FIRMLY AND
COMPLETELY PRESSED, THE ENGINE THEN STALLS. THIS OCCURS ONLY AFTER
DRIVING ON REGULAR STREETS STOP AND GO FOR APPROXIMATELY 20
MINUTES. IT WILL THEN STALL AT COMPLETE STOPS INFREQUENTLY AND IT
OCCURS PROBABLY ABOUT 5 TIMES EVERY 15 MINUTES. THIS HAS HAPPENED
EVERY TIME I HAVE DRIVEN THE CAR SINCE I PICKED IT UP BRAND NEW ON
5/11/19. IT IS NOW BACK IN THE SHOP FOR THEM TO FIX IT FOR A SECOND TIME.

NHTSA ID Number: 11208846
Complaint Date May 20, 2019
Incident Date May 10, 2019
Consumer Location MINNEAPOLIS, MN
Vehicle Identification Number 3VW5T7AU2KM****

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Summary of Complaint
VEHICLE WILL SPONTANEOUSLY TURN OFF ENGINE OR STALL WHILE
DECELERATING FROM SPEEDS OF APPROXIMATELY LESS THAN 20 MPH. CAR
WILL STALL WITH CLUTCH DEPRESSED OR NOT, STEERING WHEEL LOSES POWER
ASSIST, AND CAR NEEDS TO BE RESTARTED. ENGINE SHUT OFF OCCURS WHILE
VEHICLE IS IN MOTION AND HAS OCCURRED APPROXIMATELY 5 TIMES IN FIRST
800 MILES OF OWNERSHIP.

NHTSA ID Number: 11209610
Complaint Date May 24, 2019
Incident Date May 24, 2019
Consumer Location UNION CITY, CA
Vehicle Identification Number 3VW5T7AU1KM****
Summary of Complaint
THE CAR WILL RANDOMLY STALL WHEN COMING TO A STOP. AS OF 5/23, THE
CAR HAS 1,030 MILES ON IT. IT HAPPENED A FEW TIMES AT ABOUT 400-500 MILES
AND THEN IT WENT AWAY, BUT RECENTLY IT HAS BEEN HAPPENING A FEW
TIMES A DAY. THIS HAPPENS INTERMITTENTLY WHILE COMING TO A STOP
EITHER ALREADY IN NEUTRAL, AND IT HAS ALSO HAPPENED WHILE ROLLING TO
A STOP WITH THE CLUTCH DEPRESSED. IT IS NOT YOUR TYPICAL STALL, THERE
IS NO JERKINESS AND THE ENGINE JUST SILENTLY SHUTS DOWN. WOULD BE
HARD TO NOTICE IF EYES ARE NOT ON THE RPM, IT JUST DIES AND HITS 0 RPM.

NHTSA ID Number: 11210239
Complaint Date May 28, 2019
Incident Date May 27, 2019
Consumer Location OAKDALE, PA
Vehicle Identification Number 3VW5T7AU4KM****
Summary of Complaint
THE ISSUE PRESENTS ITSELF SLOWING DOWN TO A STOP, WHERE THE ENGINE
WILL SOFT STALL AND REQUIRE RESTARTING. THIS OCCURS WHEN THE
TRANSMISSION IS IN GEAR WITH THE CLUTCH DEPRESSED AND ALSO WHEN THE
THE TRANSMISSION IS IN NEUTRAL.

NHTSA ID Number: 11210623
Complaint Date May 29, 2019
Incident Date May 28, 2019
Consumer Location CORPUS CHRISTI, TX
Vehicle Identification Number 3VW5T7AU0KM****
Summary of Complaint
I PURCHASED THIS CAR WITH ONLY 600 MILES ON IT AND HAVE HAD IT FOR 3
DAYS. IT IS A 6 SPEED MANUAL TRANSMISSION AND NOT THE FIRST MANUAL I
HAVE EVER HAD. WHEN COMING TO A STOP, IF THE CLUTCH IS ENGAGED FULLY,
THE CAR WILL SOFT STALL LEAVING ME TO HAVE TO RESTART THE CAR TO GET
MOVING. THE STALL IS SO SUBTLE THAT EVERY TIME IT HAS HAPPENED I DIDN'T
REALIZE IT UNTIL I PRESSED THE GAS AND THE CAR DID NOTHING.THIS IS A

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VERY DANGEROUS PROBLEM THAT VW IS FAILING TO RECOGNIZE.

FOR EXAMPLE, IT HAPPENED WHILE I WAS SLOWING DOWN IN THE TURNING
LANE TO TAKE A LEFT TURN ACROSS TRAFFIC. WITH THE CLUTCH FULLY
DEPRESSED I DOWNSHIFTED TO FIRST GEAR AND BEGAN TO TURN ACROSS THE
ONCOMING LANE. AS I BEGAN TO APPLY THROTTLE AND RELEASE THE CLUTCH I
NOTICED THE CAR HAD STALLED AND WAS FORCED TO RESTART THE CAR. THIS
ALL HAPPENED WHILE I WAS SITTING IN THE ONCOMING LANE OF TRAFFIC
WHICH COULD HAVE EASILY CAUSED AN ACCIDENT IF THERE HAD BEEN CARS
COMING.

AT FIRST I THOUGHT THAT IT WAS MY DOING SO I SPENT SOME TIME TRYING TO
RECREATE THE ISSUE. ABOUT 1 IN EVERY 5 STOPS WITH THE CLUTCH FULLY
ENGAGED, WHETHER IN GEAR OR IN NEUTRAL, THE CAR WILL STALL WHEN IT
COMES TO A STOP. THIS IS NOT NORMAL BEHAVIOR OR DUE TO INEXPERIENCE. I
HAVE NEVER HAD A MANUAL VEHICLE WHERE THE ENGINE WOULD EVER
STALL WITH THE CLUTCH FULLY ENGAGED.

AFTER DOING A LITTLE RESEARCH ONLINE THIS IS APPARENTLY A WIDE SPREAD
ISSUE THAT IS AFFECTING BRAND NEW 2019 GTI'S WITH THE MANUAL
TRANSMISSION. VW IS FAILING TO ACKNOWLEDGE THAT THERE IS A PROBLEM
AND THIS NEGLIGENCE WILL ULTIMATELY LEAD TO AN ACCIDENT THAT COULD
COST SOMEBODY THEIR LIFE. SOMETHING NEEDS TO BE DONE!

NHTSA ID Number: 11217000
Complaint Date May 30, 2019
Incident Date May 30, 2019
Consumer Location EAST MEADOW, NY
Vehicle Identification Number 3VW5T7AU3KM****
Summary of Complaint
THE ENGINE STALL COMING UP ON A STOP. THE CLUTCH IS FULLY DEPRESSED
AND GEAR IN NEUTRAL. THIS HAS HAPPENED ALMOST EVERY DAY.

NHTSA ID Number: 11217139
Complaint Date May 31, 2019
Incident Date May 30, 2019
Consumer Location LA CRESCENTA, CA
Vehicle Identification Number 3VW5T7AU5KM****
Summary of Complaint
2019 VW GTI S WITH THE 6 SPEED MANUAL TRANSMISSION IN WHITE. THE CAR
STALLS OUT. IT HAPPENS WHEN IT'S IN NEUTRAL, AS I COME TO A STOP (NOT IN
GEAR, AND THE CLUTCH IS NOT DEPRESSED). IT STALLS OUT THE WAY A CAR
WOULD STALL WHEN YOU COME TO A STOP WHEN YOU ARE IN GEAR. THE CAR
WAS JUST PURCHASED 7 DAYS AGO. IT CURRENTLY HAS 105 MILES ON IT AND
THIS HAS HAPPENED 5 DIFFERENT TIMES. BUILD DATE OF 3/19



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NHTSA ID Number: 11217294
Complaint Date June 1, 2019
Incident Date May 28, 2019
Consumer Location HENDERSON, NV
Vehicle Identification Number 3VW5T7AU5KM****
Summary of Complaint
VEHICLE WAS PURCHASED ON 5/27/19. VEHICLE HAS JUST OVER 1000 MILES.
ISSUE FIRST STARTED DAY AFTER THE PURCHASE. THE VEHICLE'S ENGINE WILL
INTERMITTENTLY STALL AFTER COMING TO A STOP. THE NATURE OF THE STALL
IS SUBTLE, NOT JERKY. ALMOST LIKE A AUTO START/STOP FEATURE ON A
VEHICLE WITH AN AUTO TRANSMISSION (MY GTI HAS A 6-SPEED MANUAL). THIS
HAS HAPPENED 10 TIMES NOW. IVE HAD IT HAPPEN WITH THE CLUTCH PEDAL
PRESSED (CLUTCH DISENGAGED) AND THE VEHICLE GEAR SHIFTER IN NEUTRAL
AND ALSO IN GEAR. IVE ALSO HAD IT HAPPEN WITH THE CLUTCH PEDAL NOT
PRESSED (CLUTCH ENGAGED) AND THE GEAR SHIFTER IN NEUTRAL. CAR
RESTARTS FINE, BUT THIS IS DEFINITELY A SAFETY ISSUE THAT CAN LEAD TO
ACCIDENTS.

NHTSA ID Number: 11217367
Complaint Date June 2, 2019
Incident Date June 2, 2019
Consumer Location ANNAPOLIS, MD
Vehicle Identification Number 3VW5T7AU0KM****
Summary of Complaint
DURING STREET AND HIGHWAY DRIVING, THE ENGINE STALLS AFTER THE
VEHICLE IS BROUGHT TO A COMPLETE STOP WITH CLUTCH DEPRESSED AND/OR
TRANSMISSION IN NEUTRAL. OCCURS WITH ENGINE AT OPERATING
TEMPERATURE IRRESPECTIVE OF INITIAL SPEED OR ENGAGED GEAR PRIOR TO
COMMENCEMENT OF BRAKING AND DECELERATION. IMMEDIATELY PRIOR TO
THE STALL, THE ENGINE RUNS ROUGH OR SEEMS TO BE MISFIRING FOR ONE OR
TWO SECONDS. ONCE THE FIRST EVENT OCCURS, IT WILL THEN REPEAT 25-50%
OF THE TIME THE VEHICLE IS DECELERATED TO A STOP.

NHTSA ID Number: 11217664
Complaint Date June 3, 2019
Incident Date June 3, 2019
Consumer Location SAN DIEGO, CA
Vehicle Identification Number 3VW5T7AU6KM****
Summary of Complaint
CAR ENGINE HAS STALLED MULTIPLE TIMES WHILE PULLING UP TO A STOP. CAR
IS A SIX SPEED MANUAL AND WAS OUT OF GEAR AT THE TIME THE STALL
OCCURRED

NHTSA ID Number: 11217835
Complaint Date June 4, 2019
Incident Date June 4, 2019

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Consumer Location ADDISON, TX
Vehicle Identification Number 3VW5T7AU7KM****
Summary of Complaint
I HAVE BEEN DRIVING MANUAL TRANSMISSIONS FOR ALMOST 10 YEARS. I HAVE
HAD THE CAR STALL ON ME THREE TIMES WHILE MOVING AT LOW SPEEDS
WHILE IN FIRST GEAR, SPECIFICALLY WHEN PARKING AND WE STARTING TO
MOVE AGAIN FROM A STOP AT A LIGHT. THE ENGINE SHUTS OFF ALMOST AS IF
THE ENGINE'S START/STOP FEATURE ENGAGED, NOT LIKE A TYPICAL STALL. THE
CAR IS BRAND NEW WITH 350 MILES AS OF TODAY WHEN IT HAPPENED FOR THE
THIRD TIME.

NHTSA ID Number: 11217909
Complaint Date June 4, 2019
Incident Date June 4, 2019
Consumer Location BEVERLY HILLS, CA
Vehicle Identification Number 3VW5T7AU2KM****
Summary of Complaint
WHEN I AM SLOWING DOWN TO A STOP AND I HAVE THE CAR OUT OF GEAR, THE
ENGINE WILL SOFT STALL AND REQUIRE RESTARTING. THIS HAPPENS IN
TRAFFIC AND IS VERY DISORIENTING.

NHTSA ID Number: 11218069
Complaint Date June 5, 2019
Incident Date June 5, 2019
Consumer Location MEDIA, PA
Vehicle Identification Number 3VW5T7AU2KM****
Summary of Complaint
AFTER THE ENGINE HAS WARMED UP, CAR WILL OCCASIONALLY STALL EVEN
WITH CLUTCH FULLY DEPRESSED AND COMING TO A STOP. THE STALL IS
GENTLE, LIKE THE ENGINE IS JUST SWITCHED OFF. THE CAR DOES NOT LURCH.

NHTSA ID Number: 11218180
Complaint Date June 5, 2019
Incident Date May 22, 2019
Consumer Location SAN DIEGO, CA
Vehicle Identification Number 3VW5T7AU0KM****
Summary of Complaint
WHETHER THE CAR IS IN GEAR OR NOT THE VEHICLE WILL STALL OUT. WHEN
VEHICLE IS IN GEAR AND CLUTCH IS FULLY DEPRESSED THE VEHICLE WILL
STALL. DOES NOT MATTER IF IT IS 1ST GEAR OR REVERSE THE SAME WILL
HAPPEN.

NHTSA ID Number: 11218707
Complaint Date June 8, 2019
Incident Date June 7, 2019
Consumer Location READING, PA

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Vehicle Identification Number 3VW5T7AU7KM****
Summary of Complaint
THE CAR WILL STALL WHILE IN NEUTRAL OR WITH THE CLUTCH FULLY
DEPRESSED IN 1ST GEAR WHEN SLOWING TO A STOP. IT HAPPENED IN A
PARKING LOT WHILE COASTING IN NEUTRAL TO A STOP. IT THEN HAPPENED
THREE MORE TIMES IN STOP AND GO TRAFFIC. IT SEEMS TO HAPPEN
RANDOMLY; THERE IS NOTHING SPECIFICALLY THAT SEEMS TO TRIGGER IT OR
PREVENT IT. THE CAR WILL SIMPLY CUT OUT AND DIE WHILE OUT OF GEAR AND
SLOWING TO A STOP BELOW 10MPH. CLEARLY STALLING RANDOMLY IN
TRAFFIC IS A SAFETY CONCERN FOR MYSELF AND THOSE AROUND ME AND
VOLKSWAGEN NEEDS TO ADDRESS IT.

NHTSA ID Number: 11218851
Complaint Date June 10, 2019
Incident Date June 8, 2019
Consumer Location COLLINGSWOOD, NJ
Vehicle Identification Number 3VW6T7AU8KM****
Summary of Complaint
THE ENGINE WILL FREQUENTLY STALL WHEN I COME TO A COMPLETE STOP,
REQUIRING ME TO SHIFT THE CAR INTO PARK, RESTART THE CAR, AND THEN
PUT IT BACK INTO GEAR. I HAVE THE DSG TRANSMISSION AND THIS ISSUE HAS
OCCURRED BOTH WITH THE AUTO START/STOP ON AND WITH IT OFF. I
SOMETIMES DON'T REALIZE THE ENGINE HAS STALLED UNTIL I HAVE TO START
MOVING AGAIN, AT A RED LIGHT FOR INSTANCE, WHICH CREATES A
DANGEROUS SITUATION.

NHTSA ID Number: 11219277
Complaint Date June 11, 2019
Incident Date June 10, 2019
Consumer Location CLEARFIELD, PA
Vehicle Identification Number 3VW5T7AU8KM****
Summary of Complaint
HAS BEEN STALLING OUT AT LOW SPEED TO LOW RPMS.

WHEN COMING TO A STOP HOLD THE CLUTCH IN WHILE IN GEAR WILL SOFTLY
STALL OR WHILE OUT OF GEAR AND CLUTCH IS NOT PRESSED IN IT WILL STALL
OUT AS WELL. HAPPENED 6 TIMES IN A 10 MILE TRIP.

NHTSA ID Number: 11219875
Complaint Date June 13, 2019
Incident Date June 13, 2019
Consumer Location SYRACUSE, NY
Vehicle Identification Number 3VW5T7AU0KM****
OUT WHILE COASTING IN NEUTRAL TO A STOP <5MPH AND STALLED OUT
ALMOST IMMEDIATELY AFTER RESTARTING IGNITION 4 TIMES UNTIL I GAVE IT
GAS AND HELD IT ABOVE 1500 RPM. VEHICLE IS A RABBIT EDITION 6 SPEED

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TRANSMISSION -- STALL WAS 100% NOT DRIVER ERROR AND WAS IN NEUTRAL.
891 MILES ON THE VEHICLE.

NHTSA ID Number: 11219913
Complaint Date June 13, 2019
Incident Date June 13, 2019
Consumer Location PORTLAND, OR
Vehicle Identification Number 3VW5T7AU7KM****
Summary of Complaint
THE ENGINE WOULD STALL WHEN APPROACHING A STOP. SOMETIMES ENGINE
WOULD ALSO STALL AT LOW SPEEDS

NHTSA ID Number: 11220008
Complaint Date June 14, 2019
Incident Date June 12, 2019
Consumer Location Unknown
Vehicle Identification Number 3VW5T7AUXKM****
Summary of Complaint
MY 2019 S MODEL PRODUCED IN 9/2018 WITH MANUAL TRANSMISSION IS
STALLING AT LOW SPEEDS WITH CLUTCH FULLY ENGAGED. IT HAPPENS IN FIRST
OR SECOND GEAR USUALLY WHEN EITHER TRYING TO COME TO A STOP OR IN
STOP AND GO TRAFFIC COASTING AT VERY LOW SPEEDS WITH CLUTCH IN. THE
CAR DOES NOT LURCH. IT SIMPLY JUST SHUTS OFF QUIETLY. IT HAS HAPPENED
SO FAR ON AN OFF RAMP, IN TRAFFIC, AND PULLING INTO MY DRIVEWAY. I JUST
BOUGHT THE CAR 3 DAYS AGO ON TUESDAY, JUNE 11TH WITH ONLY A FEW
HUNDRED MILES ON IT. IT STARTED HAPPENING THE DAY AFTER I BOUGHT IT. IT
ONLY HAPPENED ONCE ON THAT DAY, BUT HAPPENED SEVERAL MORE TIMES
YESTERDAY. AT FIRST I THOUGHT IT WAS USER ERROR UNTIL I GOOGLED IT AND
SAW AT LEAST 80 PEOPLE WITH THE SAME PROBLEM. I HAVE NEVER HAD A
MANUAL CAR STALL IN LOWER GEARS WITH THE CLUTCH FULLY ENGAGED. IT
IS NOT NORMAL OR SAFE IN MY OPINION. I PLAN ON TAKING IT BACK TO THE
DEALER AS SOON AS I CAN SO THEY CAN INVESTIGATE FURTHER.

NHTSA ID Number: 11220766
Complaint Date June 17, 2019
Incident Date June 17, 2019
Consumer Location WESTERVILLE, OH
Vehicle Identification Number 3VW5T7AU4KM****
Summary of Complaint
VEHICLE WITH AN INTERMITTENT STALL IN THE SIX SPEED MANUAL
TRANSMISSION. STALLS OCCURS WHEN DECELERATING WITH THE CLUTCH
PEDAL DEPRESSED. SO FAR, THIS HAS OCCURRED ON CITY STREETS AT LOW
ROLLING SPEEDS IN THE MIDST OF A LEFT HAND TURN. A FULL STOP (AS WHEN
WAITING FOR ONCOMING TRAFFIC TO PASS) DOES NOT OCCUR BEFORE ONSET
OF THE STALL, RATHER THE STALL HAS OCCURRED MIDWAY THROUGH THE
ROLLING TURN AS THE BRAKE PEDAL IS RELEASED, THE GEAR SELECTED, AND

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CLUTCH PEDAL RELEASED. IN EVERY INSTANCE IN WHICH THE STALL HAS
INITIALLY OCCURRED, THE POWER LOSS OCCURS WHILE MY VEHICLE IS IN THE
LANE OF ONCOMING TRAFFIC, WITH ONLY THE MOMENTUM OF THE CAR
PROPELLING ME OUT OF THE LANE. IN THE MOST RECENT INCIDENT, THE STALL
REPEATED AFTER TWO ATTEMPTS TO RESTART THE VEHICLE WITH THE CLUTCH
PEDAL DEPRESSED. AFTER TURNING THE IGNITION FULLY OFF, THEN
RESTARTING THE VEHICLE, THE STALL OCCURRED A THIRD TIME. AFTER
LETTING THE VEHICLE SIT FOR A PERIOD OF ABOUT 20 MINUTES, THE CAR
STARTED AND FUNCTIONED WITHOUT INCIDENT.

NHTSA ID Number: 11222603
Complaint Date June 25, 2019
Incident Date June 2, 2019
Consumer Location SEATTLE, WA
Vehicle Identification Number 3VW5T7AU9KM****
Summary of Complaint
CAR HAS MANUAL TRANSMISSION. CAR UNEXPECTEDLY STALLS OUT WHEN
SLOWING TO A STOP IN CITY DRIVING. ALTHOUGH RESTARTING THE ENGINE IS
NO PROBLEM, IT SOMETIMES WILL STALL REPEATEDLY REQUIRING MULTIPLE
RESTARTS. I HAVE NOT BEEN ABLE TO FIGURE OUT WHAT IS CAUSING THE
PROBLEM, NOR CAN I FORCE IT TO HAPPEN.

NHTSA ID Number: 11223099
Complaint Date June 28, 2019
Incident Date April 14, 2019
Consumer Location WEST SPRINGFIELD, MA
Vehicle Identification Number 3VW5T7AU7KM****
Summary of Complaint
COMING TO A STOP, CLUTCH ALL THE WAY IN, THE CAR WILL STALL. IT IS NOT
YOUR TYPICAL "JUMPY" DRIVER ERROR STALL, BUT RATHER IT FEELS AS IF THE
ENGINE JUST SHUTS DOWN. ITS VERY SUBTLE AND THE ONLY WAY YOU EVEN
KNOW ITS HAPPENING IS THAT YOU SEE YOUR RPMS DROP OFF. ALWAYS
HAPPENING WHEN COMING TO A STOP. DIFFICULT TO BRING THE PROBLEM TO
THE DEALER BECAUSE IT IS DIFFICULT TO REPRODUCE ON COMMAND.

NHTSA ID Number: 11229111
Complaint Date July 2, 2019
Incident Date June 30, 2019
Consumer Location DALY CITY, CA
Vehicle Identification Number 3VW5T7AU3KM****
Summary of Complaint
WHEN COMING TO A STOP IN 1ST OR WHILE STOPPED AT A LIGHT IN NEUTRAL,
THE CAR WILL STALL OUT.

NHTSA ID Number: 11229491
Complaint Date July 4, 2019

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Incident Date July 4, 2019
Consumer Location MILFORD, OH
Vehicle Identification Number 3VW5T7AUXKM****
Summary of Complaint
CAR WILL STALL EVERY OTHER DAY OR SO. MAY ALSO STALL TWICE IN ONE
DAY. SEEMS TO BE MORE COMMON WHEN ITS WARMER OUT. IT STALLS IN
NEUTRAL OR IN GEAR WITH CLUTCH DEPRESSED WHEN SLOWING DOWN TO A
STOP. ALREADY HAD IT TO THE DEALER TWICE. STILL STALLS.

NHTSA ID Number: 11232214
Complaint Date July 16, 2019
Incident Date July 10, 2019
Consumer Location CINCINNATI, OH
Vehicle Identification Number 3VW5T7AU6KM****
Summary of Complaint
THE ENGINE STALLS WHEN APPROACHING A STOP DESPITE BEING IN NEUTRAL.
THE STALL IS GENTLE (NOT SUDDEN). EACH TIME, THE COOLANT AND OIL
TEMPERATURE WERE AT REGULAR OPERATING TEMPERATURES (WARMED UP,
NOT COLD). THIS HAS HAPPENED 3 TIMES THUS FAR, AT APPROXIMATELY 30
MILES, 120 MILES, AND 500 MILES ON THE ODOMETER. THIS CAR IS WITH THE
MANUAL TRANSMISSION.

NHTSA ID Number: 11234932
Complaint Date July 25, 2019
Incident Date July 25, 2019
Consumer Location HAVERFORD, PA
Vehicle Identification Number 3VW5T7AU0KM****
Summary of Complaint
WHEN AT IDLE OR COMING TO A STOP, WITH THE CAR IN NEUTRAL AND THE
CLUTCH PEDAL NOT ENGAGED THE VEHICLE WILL SOFT STALL AND REQUIRE A
KEY TURN TO START THE MOTOR AGAIN. THIS HAS HAPPENED SEVERAL TIMES
ON A BRAND NEW VEHICLE. 6SPD MANUAL

NHTSA ID Number: 11255265
Complaint Date September 13, 2019
Incident Date September 1, 2019
Consumer Location DUBLIN, NH
Vehicle Identification Number 3VW5T7AU9KM****
Summary of Complaint
TL* THE CONTACT OWNS A 2019 VOLKSWAGEN GTI. WHILE DRIVING VARIOUS
LOW SPEEDS, THE VEHICLE SUDDENLY STALLED WHEN COMING TO A STOP. THE
FAILURE OCCURRED ON THREE SEPARATE OCCASIONS. THE VEHICLE WAS NOT
DIAGNOSED OR REPAIRED. THE LOCAL DEALER AND MANUFACTURER WERE
NOT NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS 700. *DT

UPDATE: DEALER WAS NOTIFIED ON 13-SEP-2019 IMMEDIATELY AFTER THIS

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COMPLAINT WAS ORIGINALLY FILED. FAILURE HAS NOW OCCURRED ON 3

OCCASIONS. VEHICLE WAS BROUGHT TO DEALER ON 10-)CT-2019 FOR DIAGNOSIS
BUT WAS UNABLE TO FIX AS IT STALLED FOR A THIRD TIME THAT DAY WHEN
RETURNING HOME. DEALER WAS AGAIN NOTIFIED OF THE THIRD STALL AND IS
AWAITING PERMANENT FIX INFORMATION WHEN AVAILABLE FROM VWOFA.
APPROX. MILEAGE AT TIME OF FAILURES: 700 MILES ON 17-JUL-2019, 900 MILES
ON 01-SEP-2019, AND 1750 MILES ON 10-OCT-2019.*JB

NHTSA ID Number: 11266113
Complaint Date October 4, 2019
Incident Date July 31, 2019
Consumer Location HOUSTON, TX
Vehicle Identification Number 3VW5T7AU6KM****
Summary of Complaint
TL* THE CONTACT OWNS A 2019 VOLKSWAGEN GTI. THE CONTACT STATED THAT
THE VEHICLE STALLED WHEN THE CLUTCH WAS FULLY DEPRESSED AND THE
GEAR WAS IN NEUTRAL. THE CONTACT STATED THAT THE FAILURE OCCURRED
WHEN THE ENGINE WAS WARMED UP. THE VEHICLE WAS TAKEN TO
DEMONTROND VOLKSWAGEN (14101 NORTH FREEWAY, HOUSTON TX, 77090, (281)
872-3855) TO BE DIAGNOSED, BUT A FAILURE COULD NOT BE FOUND. THE
DEALER RESET THE COMPUTER, BUT THE FAILURE WAS NOT CORRECTED. THE
VEHICLE CONTINUED TO STALL WHEN THE ENGINE WAS WARMED UP. THE
VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS CONTACTED. THE
FAILURE MILEAGE WAS 12,000.

NHTSA ID Number: 11269710
Complaint Date October 19, 2019
Incident Date October 11, 2019
Consumer Location WASHINGTON TERRACE, UT
Vehicle Identification Number 3VW5T7AU4KM****
Summary of Complaint
VEHICLE INTERMITTENTLY WILL STALL OUT WHEN COMING TO A COMPLETE
STOP, AND MUST BE MANUALLY RESTARTED FOR EACH FAILURE AND THE CAR
SUCCESSFULLY RESTARTS EVERY TIME WITH NO ISSUES. EACH STALL
HAPPENED WHILE VEHICLE WAS COMING TO A STOP BETWEEN 0 AND 10 MILES
PER HOUR WITH NO WARNING, WITH THE CLUTCH FULLY DEPRESSED AND THE
VEHICLE IN NEUTRAL. THE VEHICLE DOES NOT HAVE AN AUTO START/STOP
FEATURE. THE FAILURE SEEMS TO BE EITHER ELECTRICAL OR MECHANICAL IN
NATURE, AND ONLY OCCURS WHEN THE VEHICLE IS COMPLETELY UP TO
OPERATING TEMPERATURE. THIS STALLING ISSUE HAS OCCURRED A TOTAL OF
15 TIMES IN THE WEEK THAT I HAVE OWNED IT, STARTING WITH THE FIRST DAY
OF PURCHASE, BUT DOES NOT HAPPEN EVERY TIME I DRIVE THE CAR. THERE IS
CURRENTLY NO CHECK ENGINE LIGHT, AND NO CODES STORED FOR THIS
FAILURE. THE ENGINE DOES SOMETIMES RUN VERY ROUGH RIGHT BEFORE IT
STALLS, BUT THIS HAS ONLY HAPPENED 3 TIMES OUT OF THE TOTAL 15

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FAILURES THAT HAVE OCCURRED. THE ONLY SECONDARY ISSUE THAT MAY BE
RELATED TO THIS FAILURE IS AN INCORRECT GEAR INDICATION BEING SHOWN
ON THE DASH, WHICH I HAVE ONLY NOTICED A COUPLE OF TIMES. CURRENTLY
WAITING FOR SERVICE AT THE DEALERSHIP TO LOOK AT THE VEHICLE,
HOWEVER, THEY HAVE INFORMED ME THAT THEY ARE NOT AWARE OF ANY
PERMANENT SOLUTIONS TO THIS ISSUE AND THEY ARE AWARE THAT THIS IS A
COMMON ISSUE WITH THIS YEAR MAKE AND MODEL OF VEHICLE.

NHTSA ID Number: 11280955
Complaint Date November 18, 2019
Incident Date November 7, 2019
Consumer Location CLEVELAND, OH
Vehicle Identification Number 3VW5T7AU3KM****
Summary of Complaint
MY 2019 GOLF GTI 6 SPEED MANUAL FREQUENTLY AND SEEMINGLY RANDOMLY
STALLS WHEN COMING TO A STOP. SOME DAYS THE CAR WILL NOT STALL AT
ALL OTHER TIMES THE CAR WILL STALL EVERYTIME IT COMES TO A COMPLETE
STOP. IT HAPPENS AFTER THE CAR HAS FULLY WARMED UP AND WILL HAPPEN
AT THE MOST UNEXPECTED TIMES. THE CAR STALLS VERY GENTLY, NO
LURCHING OR BUCKING.

NHTSA ID Number: 11281246
Complaint Date November 20, 2019
Incident Date November 19, 2019
Consumer Location MUNDELEIN, IL
Vehicle Identification Number 3VW5T7AU9KM****
Summary of Complaint
RE: NHTSA ACTION NUMBER DP19003.
I HAVE A 2019 GTI SE 6MT. AT LOW SPEEDS, COMING TO A STOP, WITH CLUTCH
ENGAGED, THE CAR WILL STALL. NO WARNING LIGHTS OR NOTICEABLE SOUNDS
APPEAR, BUT THE ENGINE JUST TURNS OFF. SOMETIMES YOU DON'T KNOW IT'S
OFF UNTIL YOU TRY TO ACCELERATE. A COUPLE OF TIMES THE ENGINE WOULD
QUIETLY SHUT OFF WHILE THE CAR WAS IN MOTION WITH CLUTCH ENGAGED
AND GEAR IN NEUTRAL. THE FREQUENCY OF THIS OCCURENCE IS HIGHER WHEN
IM IN STOP AND GO TRAFFIC. I PURCHASED MY CAR BRAND NEW YESTERDAY,
11/18/2019, WITH LESS THAN 30 MILES. THE STALLING OCCURRED THE NEXT DAY
ON 11/19/2019 IN BUMPER TO BUMPER TRAFFIC. TO PROIVDE CONTEXT, I'VE BEEN
DRIVING MANUAL TRANSMISSIONS 13 YEARS, WITH MY PREVIOUS CAR BEING A
6MT 2013 GTI, AND NEVER ENCOUNTERED THIS TYPE OF ISSUE BEFORE. TO TEST
WHETHER IT'S HUMAN ERROR, I CONCIOUSLY PRESSED DOWN ON THE CLUTCH
AS HARD AS I COULD AND KEPT IT ENGAGED UNTIL FULL STOP TO ENSURE I
WASN'T RELEADING TOO EARLY, BUT THE ISSUE STILL PERSISTED. I'VE STALLED
OVER 10 TIMES IN A DAY, WHICH APPEARS TO OCCUR AT RANDOM, BUT MORESO
DURING LOW SPEED, STOP AND GO DRIVING. BECAUSE OF THE SUBTLE ENGINE
SHUTOFF, LEFT TURNS FROM A STANDSTILL CAN BE EXTREMELY DANGEROUS
DUE TO STALLING ON ONCOMING TRAFFIC WITHOUT KNOWING YOUR ENGINE IS

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OFF, AMONGST THE OTHER DANGEROUS IMPLICATIONS OF THIS ISSUE. PLEASE
CONSIDER THIS A SERIOUS ISSUE, WHICH APPEARS TO BE IMPACTING MANY
OTHER 2019 GTI 6MT OWNERS.

NHTSA ID Number: 11297514
Complaint Date January 6, 2020
Incident Date January 6, 2020
Consumer Location LAS VEGAS, NV
Vehicle Identification Number 3VW5T7AUXKM****
Summary of Complaint
THE VEHICLE SEEMS TO PERIODICALLY STALL WHEN I'M TRAVELING AT LOW
SPEEDS, SUCH AS IN PARKING LOTS, OR SLOWING DOWN TO TAKE A RIGHT OR
LEFT TURN. IT HAS RECURRED ENOUGH (~4 TIMES IN 220 MILES) TO KNOW IT IS
NOT DRIVER ERROR.

NHTSA ID Number: 11309970
Complaint Date February 18, 2020
Incident Date February 16, 2020
Consumer Location KIRKLAND, WA
Vehicle Identification Number 3VW5T7AU9KM****
Summary of Complaint
CAR STALLS AT SLOW SPEEDS AND WHEN FULLY STOPPED. THE STALL HAS
HAPPENED 4 TIMES: TWICE WHILE MOVING AT ROUGHLY 5MPH TOWARDS A RED
LIGHT, AND TWICE WHILE STOPPED AT RED LIGHTS. IN EACH CASE, THE CLUTCH
PEDAL WAS FULLY ON THE FLOOR AND BRAKE PEDAL WAS ENGAGED. IT IS
BRAND NEW CAR AND THE FIRST STALL HAPPENED AT ROUGHLY 160 MILES ON
THE ODOMETER. THE LAST STALL WAS AT 191.

NHTSA ID Number: 11315480
Complaint Date March 1, 2020
Incident Date March 1, 2020
Consumer Location CABOT, AR
Vehicle Identification Number 3VW447AU9JM****
Summary of Complaint
AN ISSUE EXISTS WHERE THE START STOP SYSTEM (S/S) CAN CAUSE THE
VEHICLE TO STALL AT A STOP LIGHT.

AT ONE POINT, THE DRIVER WAS IN STOPPED IN TRAFFIC, WHICH CAUSED MY S/S
TO ACTIVATE, TURNING OFF THE VEHICLE'S ENGINE. THE DRIVER UNBUCKLED
HIS SEAT BELT SO HE COULD PUT SOMETHING INTO THE GLOVE BOX, THEN RE
BUCKLED HIS SEAT BELT. TRAFFIC BEGAN MOVING AGAIN, SO THE DRIVER HIT
THE ACCELERATOR. THE VEHICLE DID NOT ACCELERATE. THERE WAS A
NOTIFICATION ON THE DASH STATING "PLEASE START ENGINE MANUALLY". THE
DRIVER ATTEMPTED TO START THE ENGINE, BUT THE VEHICLE WAS STILL IN
DRIVE, SO THE VEHICLE NOTIFIED HIM TO PUT THE TRANSMISSION INTO P OR N.
THE DRIVER SHIFTED THE VEHICLE INTO N, RESTARTED THE ENGINE, SHIFTED

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BACK INTO DRIVE AND THEN RESUMED DRIVING. (AFTER CREATING A SMALL
TRAFFIC JAM)

LATER, THE DRIVER TOOK THE VEHICLE TO THE DEALERSHIP AND EXPLAINED
THE ISSUE. THE SERVICE DEPARTMENT POLITELY EXPLAINED THAT THE S/S
SYSTEM DOES THAT, AND THERE IS NOTHING THAT THEY CAN DO. THEY
EXPLAINED THAT MULTIPLE FACTORS STIPULATE THE S/S SYSTEM'S DECISIONS,
SUCH AS ENGINE TEMPERATURE, POWER CONSUMPTION (JUST TO NAME A FEW).
THE DRIVER ALSO ASKED IF THE DEALERSHIP COULD JUST REMOVE S/S SYSTEM,
THEY EXPLAINED THAT THEY WERE NOT ALLOWED TO DUE TO EPA
REGULATIONS.

ATTACHED IS A PNG FILE CONTAINING SCREENSHOTS OF A MP4 THAT THE
DRIVER TOOK ON 03/01/20 WHILE ATTEMPTING TO RECREATE THE INCIDENT.

IT SHOULD BE NOTED THAT THE DRIVER COULD NOT RECREATE THE INCIDENT
PERFECTLY. THE DRIVER WAS ONLY ABLE TO MAKE IT SO THAT THE S/S
MECHANISM WOULD RESTART THE ENGINE AFTER THE DRIVER RE BUCKLED HIS
SEAT BELT AND SUBSEQUENTLY DEPRESSED THE ACCELERATOR MOST OF THE
WAY DOWN (NOT REQUIRING THE DRIVER TO SHIFT THE VEHICLE INTO P OR N
AND RESTARTING THE ENGINE).

NHTSA ID Number: 11315812
Complaint Submitted: March 3, 2020
Date of Incident: March 1, 2020
Consumer Location: South San Francisco, CA
Vehicle Identification No. (VIN): 3VW6T7AU9KM
Summary of Complaint:
MY 2019 VW GTI-S IS EQUIPPED WITH A DSG TRANSMISSION. I WAS DRIVING IT IN
MANUAL SPORT MODE ON THE FREEWAY ON SUNDAY 1 MARCH 2020. AFTER
GETTING OFF OF THE FREEWAY AND ONTO THE CITY SURFACE STREETS, THE
CAR STALLED WHEN I CAME TO A STOP. I THOUGHT IT WAS BECAUSE I HAD NOT
TURNED OFF THE ENGINE START/STOP DEFEAT FEATURE OFF BUT THAT WAS
NOT THE CASE. ANOTHER 6-7 STALLS OCCURRED AS I DROVE THE CAR THE FEW
MILES BACK HOME AFTER DROPPING OFF A FRIEND.

THERE WERE 4-5 PREVIOUS INDIVIDUAL INCIDENTS PRIOR TO SUNDAY.

ON MONDAY 2 MARCH WHILE I DROVE THE CAR HOME ON THE FREEWAY IN
STOP AND GO COMMUTE TRAFFIC THERE WERE NO PROBLEMS; HOWEVER
AFTER EXITING THE FREEWAY THE CAR STALLED AGAIN 3 SEPARATE TIMES
AFTER I CAME TO A FULL STOP AT THE SIGNALS AND STOP SIGNS LEADING TO
MY HOME.

NHTSA ID Number: 11318971
Complaint Date March 22, 2020

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Incident Date March 21, 2020
Consumer Location CATASAUQUA, PA
Vehicle Identification Number 3VW5T7AU9KM****
Summary of Complaint
I HAVE A 2019 VOLKSWAGEN GTI 6 SPEED MANUAL TRANSMISSION. WHILE I WAS
OUT RUNNING ERRANDS TO THE LOCAL FOOD STORE AND HARDWARE STORE, I
CAME TO A COMPLETE AND FULL STOP AT A STOP SIGN. AT THIS TIME THE CAR
WAS IN NEUTRAL WITH THE CLUTCH PEDAL DISENGAGED AND THE BRAKE
PEDAL DEPRESSED. I NOTICED THE CAR HAD A SOFT STALL. THIS HAPPENED A
TOTAL OF ABOUT 6 TIMES. IT IS ALMOST AS IF THE CAR HAS THE AUTO STOP
FEATURE THAT TURNS THE ENGINE OFF AT A FULL AND COMPLETE STOP BUT
MY CAR IS NOT EQUIPPED WITH THAT OPTION. I FEEL AS IF THE ENGINE IS THE
PROBLEM BECAUSE IT IS CUTTING OFF. I ALSO FEEL IT COULD BE THE
TRANSMISSION THINKING THAT THE CAR IS IN A DIFFERENT GEAR AND NOT
ENOUGH RPMS TO SUSTAIN THAT GEAR. I ALSO FEEL IT COULD BE A VACUUM
LEAK WHICH IS NOT SENDING THE RIGHT SIGNALS TO THE ENGINE COMPUTER
OR SOMETHING ELSE. AT THE TIME OF THIS HAPPENING IT WAS SUNNY AND IN
MID FIFTIES IN TEMPERATURE.

NHTSA ID Number: 11344148
Complaint Date: August 9, 2020
Incident Date: August 8, 2020
Consumer Location: SANTA MONICA, CA
Vehicle Identification Number:3VW5T7AU4KM****
Summary of Complaint
I HAVE A 2019 GTI SE 6MT. AT LOW SPEEDS, COMING TO A STOP, WITH CLUTCH
ENGAGED, THE CAR WILL STALL. NO WARNING LIGHTS OR NOTICEABLE SOUNDS
APPEAR, BUT THE ENGINE JUST TURNS OFF. SOMETIMES YOU DON'T KNOW IT'S
OFF UNTIL YOU TRY TO ACCELERATE. A COUPLE OF TIMES THE ENGINE WOULD
QUIETLY SHUT OFF WHILE THE CAR WAS IN MOTION WITH CLUTCH ENGAGED
AND GEAR IN NEUTRAL. THE FREQUENCY OF THIS OCCURENCE IS HIGHER WHEN
IM IN STOP AND GO TRAFFIC. I PURCHASED MY CAR BRAND NEW YESTERDAY,
11/18/2019, WITH LESS THAN 30 MILES. THE STALLING OCCURRED THE NEXT DAY
ON 11/19/2019 IN BUMPER TO BUMPER TRAFFIC. TO PROIVDE CONTEXT, I'VE BEEN
DRIVING MANUAL TRANSMISSIONS 13 YEARS, WITH MY PREVIOUS CAR BEING A
6MT 2013 GTI, AND NEVER ENCOUNTERED THIS TYPE OF ISSUE BEFORE. TO TEST
WHETHER IT'S HUMAN ERROR, I CONCIOUSLY PRESSED DOWN ON THE CLUTCH
AS HARD AS I COULD AND KEPT IT ENGAGED UNTIL FULL STOP TO ENSURE I
WASN'T RELEADING TOO EARLY, BUT THE ISSUE STILL PERSISTED. I'VE STALLED
OVER 10 TIMES IN A DAY, WHICH APPEARS TO OCCUR AT RANDOM, BUT MORESO
DURING LOW SPEED, STOP AND GO DRIVING. BECAUSE OF THE SUBTLE ENGINE
SHUTOFF, LEFT TURNS FROM A STANDSTILL CAN BE EXTREMELY DANGEROUS
DUE TO STALLING ON ONCOMING TRAFFIC WITHOUT KNOWING YOUR ENGINE IS
OFF, AMONGST THE OTHER DANGEROUS IMPLICATIONS OF THIS ISSUE. PLEASE
CONSIDER THIS A SERIOUS ISSUE, WHICH APPEARS TO BE IMPACTING MANY
OTHER 2019 GTI 6MT OWNERS.

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                                  2019 Jetta

NHTSA ID Number: 11216921
Complaint Date May 30, 2019
Incident Date May 29, 2019
Consumer Location EL CENTRO, CA
Vehicle Identification Number 3VW5T7BU8KM****
Summary of Complaint
MY MANUAL TRANSMISSION-EQUIPPED 2019 JETTA GLI (2.0T) STALLS AT SLOW
SPEEDS AND AT STOP LIGHTS DESPITE THE CLUTCH PEDAL FULLY ENGAGED
("TO THE FLOOR") OR THE VEHICLE COASTING IN NEUTRAL. I HAVE HAD THE
CAR FOR THREE DAYS AND IN TWO OF THOSE DAYS, THE VEHICLE HAS STALLED
WHILE DRIVING THROUGH CITY STREETS AND AT STOP LIGHTS. THE FIRST
OCCURRENCE HAPPEN AT APPROXIMATELY 100 MILES ON THE ODOMETER, WITH
THE SECOND AT AROUND 120 MILES. THE VEHICLE SHOWED NO PREEMPTIVE
SIGNS OF A STALL, AND NECESSITATED A FULL RE-IGNTIION OF THE ENGINE IN
ORDER TO PROCEED OUT OF TRAFFIC. A QUICK SEARCH OF "2019 JETTA GLI/GTI
STALLING ISSUE" RETURNS A LARGE LIST OF IDENTICAL OCCURRENCES WITH
MANUAL TRANSMISSIONS IN 2019-BUILT ENGINES/DRIVETRAINS.

NHTSA ID Number: 11217691
Complaint Date June 4, 2019
Incident Date June 2, 2019
Consumer Location ATLANTA, GA
Vehicle Identification Number 3VWN57BU1KM****
Summary of Complaint
"HILL HOLD ASSIST" DOES NOT DISENGAGE QUICKLY IN MANUAL
TRANSMISSION VEHICLES WHEN STOPPED FACING UP AN INCLINE CAUSING THE
DRIVER TO EITHER STALL THE VEHICLE POTENTIALLY IN DANGEROUS
SITUATIONS OR BURN THE CLUTCH WHILE ATTEMPTING TO GET THE VEHICLE
MOVING CAUSING PREMATURE CLUTCH WEAR. OFTEN TIRES SPIN ONCE THE
BRAKE IS RELEASED CAUSING PREMATURE TIRE WEAR. THIS COULD EASILY BE
SOLVED WITH SOFTWARE UPGRADES ALLOWING THE DRIVER TO DISABLE THIS
FEATURE AND/OR REFINING THE RELEASE TO BE MORE INSTANTANEOUS.

NHTSA ID Number: 11234974
Complaint Date July 26, 2019
Incident Date July 24, 2019
Consumer Location FRESNO, CA
Vehicle Identification Number 3VW6T7BU8KM****
Summary of Complaint
ENGINE STALLS OCCASIONALLY, I HAVE THE DSG AUTOMATIC TRANSMISSION
AND SOMETIMES WHEN I AM AT A COMPLETE STOP, THE ENGINE TURNS OFF

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AND A REQUEST DISPLAYS ON THE SCREEN ASKING ME TO MANUAL RESTART
THE ENGINE. THIS HAS HAPPENED TO ME 5 TOMES ALREADY SINCE I'VE
PURCHASED THE VEHICLE LAST A FEW DAYS AGO. THE VEHICLE HAS ABOUT 400
MILES ON IT, I'VE PURCHASED IT NEW.

I'M CONCERNED THAT THE ENGINE MIGHT STALL ON THE HIGHWAY AND I'M
CONCERNED ABOUT MY SAFETY WITH THE VEHICLE.

NHTSA ID Number: 11241648
Complaint Date August 4, 2019
Incident Date August 4, 2019
Consumer Location CHICAGO, IL
Vehicle Identification Number 3VW5T7BU9KM****
Summary of Complaint
THIS IS A BRAND NEW MANUAL TRANSMISSION JETTA GLI WITH ONLY 160
MILES. AFTER DRIVING FOR ABOUT 16 MINUTES AT HIGHWAY SPEEDS ON THE
EXPRESSWAY, THE CAR QUIETLY STALLED OUT WHILE COMING TO A STOP ON
AN EXIT RAMP. I RESTARTED THE CAR, DROVE TO A STOPLIGHT ABOUT A
MINUTE AWAY AND AFTER COMING TO A STOP AT THAT LIGHT THE CAR
STALLED AGAIN. WAS ABLE TO RESTART THE VEHICLE ONCE AGAIN AND DRIVE
OFF.

THIS IS A VERY DANGEROUS SITUATION IF THE CAR WAS TO STALL IN THE
MIDDLE OF A TURN OR AT HIGH SPEED ON AN EXPRESSWAY.

NHTSA ID Number: 11244139
Complaint Date August 15, 2019
Incident Date July 15, 2019
Consumer Location NORTH CHARLESTON, SC
Vehicle Identification Number 3VW5T7BU7KM****
Summary of Complaint
ON MY MANUAL TRANSMISSION GLI, THE ENGINE STALLS INTERMITTENTLY. IT
HAS HAPPENED AT A COMPLETE STOP, AT WALKING SPEED, AND ONCE AROUND
10MPH. IT HAS HAPPENED WITH THE CLUTCH PEDAL COMPLETELY DEPRESSED
WITH THE SHIFTER IN NEUTRAL OR IN GEAR, AND HAS ALSO HAPPENED WHILE
IDLING IN NEUTRAL WITH FOOT COMPLETELY OFF THE CLUTCH. IT IS NOT A
HARD STALL LIKE LEARNING TO DRIVE STICK. IT JUST STRUGGLES AND SOFTLY
DIES OUT. I HAVE ALSO NOTICED THAT THE GEAR INDICATOR WILL TEND TO
DISPLAY THE WRONG GEAR, PARTICULARLY WHEN DOWNSHIFTING. I'VE ALSO
NOTICED THAT THE ENGINE RPMS ARE SOMETIMES AFFECTED SIMPLY BY
PUSHING IN AND LETTING OUT THE CLUTCH. I FIRST NOTICED THIS PARKED IN
MY LEVEL CARPORT. WITH THE CAR IN NEUTRAL, PUSHING IN AND LETTING THE
CLUTCH OUT WILL RESULT IN A BRIEF SLIGHT RPM SPIKE. ON OTHER
OCCASIONS IT IS COMPLETELY ABSENT LIKE NORMAL OPERATION. I CLASSIFIED
THIS AS POWER TRAIN, BUT IT COULD BE ENGINE, TRANSMISSION, COMPUTER
MANAGEMENT, ETC.

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NHTSA ID Number: 11253561
Complaint Date September 6, 2019
Incident Date September 5, 2019
Consumer Location GROVETOWN, GA
Vehicle Identification Number 3VW5T7BU0KM****
Summary of Complaint
CAR CONSTISTENTLY STALLS WHEN COMING TO A STOP. WILL STALL EVEN IN
NEUTRAL WITH THE CLUTCH DEPRESSED. WILL DRIVE FINE SOMETIMES AND
SOMETIMES IT WILL STALL 15+ TIMES IN A SINGLE TRIP. IT HAS ALMOST CAUSED
AN ACCIDENT WHEN TRYING TO TURN IN AN INTERSECTION MULTIPLE TIMES
NOW. STARTED AROUND 1,200 MILES ON THE CAR AND HAPPENS FREQUENTLY.

NHTSA ID Number: 11254511
Complaint Date September 10, 2019
Incident Date September 6, 2019
Consumer Location SUMMERVILLE, SC
Vehicle Identification Number 3VW5T7BU2KM****
Summary of Complaint
WHEN COMING TO A STOP THE VEHICLE WOULD STALL WITHOUT WARNING
WITH THE TRANSMISSION IN NEUTRAL AND THE CLUTCH ALL THE WAY OUT.
SEEMS TO OCCUR WHEN THE VEHICLE IS DRIVING FOR A WHILE AND GETS HOT.
VEHICLE IS AT 2460 MILES AND DID IT OFF AND ON SINCE 32 MILES.

NHTSA ID Number: 11255697
Complaint Date September 16, 2019
Incident Date September 12, 2019
Consumer Location STATEN ISLAND, NY
Vehicle Identification Number 3VW6T7BU0KM****
Summary of Complaint
CAR WILL STALL OUT WHEN COMING TO A STOP WHILE IN MANUAL MODE OF
DSG TRANSMISSION, WITH START/STOP DEACTIVATED. DRIVER IS PLACED IN A
DANGEROUS SITUATION, MUST PUT THE CAR IN PARK TO RESTART VEHICLE.

NHTSA ID Number: 11256575
Complaint Date September 19, 2019
Incident Date September 14, 2019
Consumer Location MADISON, TN
Vehicle Identification Number 3VW5T7BU1KM****
Summary of Complaint
2019 JETTA GLI 6MT. CAR WILL STALL WHEN COMING TO A STOP IN FIRST,
SECOND, AND NEUTRAL. WHEN IN NEUTRAL, CLUTCH CAN BE EITHER IN OR OUT
TO REPLICATE ISSUE. HAS HAPPENED WHEN COASTING TO A STOP AT <10 MPH,
AS WELL AS WHEN AT A STOP. TYPICALLY TAKES 2-5 SECONDS FOR CAR TO
SHUT DOWN. CAR CURRENTLY HAS ~600 MILES ON IT, HAS BEEN HAPPENING



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SINCE I GOT THE CAR DELIVERED (TOOK DELIVERY AT 300 MILES DUE TO
DEALERSHIP DELIVERING CAR TO MY HOUSE).

NHTSA ID Number: 11257798
Complaint Date September 24, 2019
Incident Date September 24, 2019
Consumer Location GRANGER, IN
Vehicle Identification Number 3VW5T7BU5KM****
Summary of Complaint
VEHICLE STALLS WHEN CLUTCH IS DEPRESSED, PLACED BACK INTO NEUTRAL,
WHEN COMING TO A STOP. THE STALLING HAPPENS MORE FREQUENTLY AFTER
THE CAR HAS BEEN DRIVEN FOR 15-30 MINUTES. STALL OCCURS WHIL ROLLING
TO A STOP

NHTSA ID Number: 11266094
Complaint Date October 4, 2019
Incident Date September 23, 2019
Consumer Location RANCHO CUCAMONGA, CA
Vehicle Identification Number 3VW5T7BU4KM****
Summary of Complaint
MY CAR IS 2 WEEKS OLD WITH 400 MILES ON THE CAR. SINCE THE ODOMETER
HAD APROX 100 MILES ON IT THE CAR HAS BEEN HAVING A ISSUE WITH
STALLING WHEN COMING TO A STOP. IN THE PAST 2 WEEKS IT HAS STALLED
APROX 26 TIMES WHEN COMING TO A STOP. I HAVE BROUGHT THE CAR BACK TO
THE DEALERSHIP FOR THIS ISSUE BECAUSE THE CAR STALLED 3 TIMES IN A 15
MILE DRIVE ON THE FREEWAY IN BUMPER TO BUMPER TRAFFIC. THE CAR IS
VERY UNPREDICTABLE AS TO WHEN IT WILL DECIDE TO STALL BUT BECOMES A
VERY DANGEROUS SITUATION WHEN COMMUTING ON THE FREEWAY AND IT
DECIDES TO STALL. THE CAR IS A MANUAL TRANSMISSION AND DOES NOT HAVE
THE AUTO START STOP FUNCTION BUT STALLS OUT WHEN COMING TO A STOP. I
HAVE INFORMED THE DEALERSHIP THAT THIS CAR IS VERY DANGEROUS TO
HAVE MY FAMILY OR ANYONE RIDE IN AS YOU DO NOT KNOW IF IT WILL FAIL
AND PUT YOU AT RISK OF BEING HIT BY ANOTHER VEHICLE. THIS IS A BRAND
NEW CAR AND SHOULD NOT HAVE STALLING OR ENGINE FAILURES AT ANY
POINT LET ALONE HAVING OVER 20 IN A 2 WEEK PERIOD. THE CAR IS AT VW
BEING EVALUATED BUT I DO NOT FEEL COMFORTABLE OR SAFE KNOWING THIS
SITUATION IS HAPPENING.

NHTSA ID Number: 11267874
Complaint Date October 11, 2019
Incident Date October 11, 2019
Consumer Location SUNRISE, FL
Vehicle Identification Number 3VWCB7BU7KM****
Summary of Complaint
2019 JETTA SE PURCHASE DATE 9/28/19, LOUD RATTLE/VIBRATION/ SHUDDER
UNDERCAR DRIVERS SIDE, ALWAYS THERE ON LIGHT LOAD ACCELERATION

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1600-1800 RPM.

CAR SHUDDERS UNDER LOAD 30-40 MPH, ACCELERATION DIMINISHED TO LIMP
APPROX 5 SECONDS, ENGINE KEEPS RUNNING, NO STALL BUT FEELS AS THOUGH
IT IS READY TO STALL.

INQUIRED WITH DEALER SERVICE DEPARTMENT, HAS NEVER HEARD OF THESE
CONCERNS.

CAR FEELS UNSAFE WITH POTENTIAL TO STALL ON ACCELERATION, DRIVELINE
HAS LOUD RUMBLE AND SHUDDER, WORSENING DAILY, TODAYS MILEAGE 590.

CONDITIONS ARE WHEN RUNNING AND UNDER LIGHT LOAD AND HIGHWAY
MERGING ACCELERATION.

CAR DOES NOT MERGE WELL DUE TO REDUCED POWER THAT FEELS
PROPORTIONAL AND DUE TO UNDER CAR SHUDDER.

NHTSA ID Number: 11278127
Complaint Date November 4, 2019
Incident Date October 6, 2019
Consumer Location ALTA LOMA, CA
Vehicle Identification Number 3VW5T7BU9KM****
Summary of Complaint
I PURCHASED MY VW JETTA AUTOBAHN EDITION 6 SPEED MANUAL
TRANSMISSION (BUILD DATE OF 07/19) ON 10/06/2019. IT WAS PURCHASED NEW
WITH UNDER 10 MILES ON IT AND SINCE DAY 1 WHEN I DROVE IT HOME, I HAVE
BEEN EXPERIENCING EXCESSIVE STALLING IN LOW SPEEDS. THE ENGINE TURNS
OFF WITHOUT WARNING AS I SLOW TO A STOP AND HAPPENS WITH OR WITHOUT
THE CLUTCH ENGAGED AND ALSO WHEN THE VEHICLE IS IN NEUTRAL. ALL OF
THE STALLS HAVE OCCURRED WHILE I HAVE BEEN DRIVING ON CITY STREETS
AND SEEMS TO BE HAPPENING IN THE AFTERNOONS MAINLY AND ONLY AFTER I
HAVE BEEN DRIVING FOR ABOUT 10+ MILES BUT ONCE THE FIRST STALL
OCCURS, THE VEHICLE WILL STALL AGAIN WITHIN 1-2 MILES THEREAFTER. ON A
SINGLE DRIVE, IT HAS STALLED UP TO 5-6 TIMES. I AM ALSO EXPERIENCING
INCORRECT GEAR INDICATOR. FOR EXAMPLE, IF I AM IN 3RD GEAR, THE
VEHICLE REGISTERS THAT I AM IN 5TH GEAR AND VICE VERSA. MY VEHICLE HAS
UNDER 2K MILES AND IS CURRENTLY AT THE DEALER AND THEY ARE
ATTEMPTING TO FIGURE OUT THE PROBLEM. THE SERVICE MANAGER I DEALT
WITH MENTIONED THAT HE, PERSONALLY, HAS WORKED WITH 2 CUSTOMERS
THAT HAVE PRESENTED THE SAME PROBLEM. 1 CUSTOMER HAD HIS VEHICLE
"BOUGHT BACK" AND THE OTHER, WHICH WAS A MONTH AGO, HAD HIS
"THROTTLE VALVE" REPLACED AND HAS NOT HAD THE PROBLEM RETURN. I
HAVE VIDEO OF INSTANCES TO SUPPORT THIS CLAIM, HOWEVER THE FILE SIZE
IS TOO LARGE TO UPLOAD. *TR



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NHTSA ID Number: 11279232
Complaint Date November 10, 2019
Incident Date November 8, 2019
Consumer Location OCALA, FL
Vehicle Identification Number 3VW5T7BU1KM****
Summary of Complaint
EVERY SENSE I BOUGHT MY JETTA OVER THE LAST FEW MONTHS IT STALLS OUT
WHEN SLOWING DOWN TO A STOP AND WHEN STARTING FROM A STOP. THE
RPMS WILL GO UP BUT THEN DROP IMMEDIATELY. IT’S HAPPENED QUITE A FEW
TIMES. I’VE CALLED MY LOCAL VOLKSWAGEN DEALER AND THEY SAID THEY
HAVE NOT HEARD OF ANY OTHER ISSUES LIKE THIS. IT STALLED OUT TWICE ON
MY WHEN DRIVING HOME THE OTHER NIGHT IT HAS ALMOST CAUSED ME TO BE
REAR ENDED A FEW DIFFERENT TIMES TO THE POINT I’M SCARED TO DRIVE
WITH MY NEPHEWS IN THE CAR. WHEN I’M SLOWING DOWN I PUSH IN THE
CLUTCH AND THE RPMS WITH SHOOT UP AND THEN STALL OUT IT DOESN’T
MATTER IF I GIVE IT MORE THROTTLE OR NOT. THE SAME THING HAPPENS WHEN
I’M STARTING FROM A START AT LOW SPEED. IT HAPPENS MOSTLY ON CITY
STREET. HAS HAPPENED ONCE ON THE HIGHWAY WHEN I WAS SLOWING DOWN
FOR BUMPER TO BUMPER TRAFFIC.

NHTSA ID Number: 11281546
Complaint Date November 21, 2019
Incident Date November 21, 2019
Consumer Location CHICAGO, IL
Vehicle Identification Number 3VW5T7BUXKM****
Summary of Complaint
VEHICLE WILL STALL AT TIMES WHEN COMING TO COMPLETE STOP, OR WHEN
COASTING IN NEUTRAL, WITH CLUTCH PEDAL DEPRESSED. VW DEALER RESET
ECU ADAPTATIONS. ISSUE STILL REMAINS.

NHTSA ID Number: 11292489
Complaint Date January 1, 2020
Incident Date January 1, 2020
Consumer Location ATLANTA, GA
Vehicle Identification Number 3VW5T7BU4KM****
Summary of Complaint
THE VEHICLE IS A 6-SPEED MANUAL TRANSMISSION. THE VEHICLE WILL STALL
OUT WHEN COMING TO A STOP. NOT USER ERROR, SINCE THE STALLING
HAPPENS WHEN THE CAR IS IN NEUTRAL - COASTING TO A STOP. STALL OUT IS
VERY SOFT - AKIN TO JUST SHUTTING OFF THE ENGINE. THIS HAPPENS NEARLY
EVERY STOP AFTER RUNNING THE CAR FOR ABOUT 15 MINUTES. THIS
PHENOMENON IS REPEATABLE AND EXTREMELY UNSAFE.

NHTSA ID Number: 11320116
Complaint Date April 3, 2020
Incident Date April 4, 2019

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Consumer Location TYRONE, PA
Vehicle Identification Number 3VWST7BUOKM****
Summary of Complaint
TL* THE CONTACT OWNS A 2019 VOLKSWAGEN JETTA. THE CONTACT STATED
THAT ON MULTIPLE OCCASIONS WHILE STOPPED ON AN INCLINE, THE HILL
ASSIST FEATURE CAUSED THE VEHICLE TO STALL INTERMITTENTLY WITHOUT
WARNING. THE FAILURE OCCURRED WHEN THE ACCELERATOR PEDAL WAS
DEPRESSED. THE CONTACT STATED THAT THE STALL LASTED APPROXIMATELY
3 SECONDS. THE VEHICLE WAS TAKEN TO FIORE VOLKSWAGEN (1000 S LOGAN
BLVD, HOLLIDAYSBURG, PA 16648), ON THREE SEPARATE OCCASIONS. THE
CONTACT WAS INFORMED THAT THE VEHICLE PERFORMED AS DESIGNED. THE
VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
FAILURE. THE FAILURE MILEAGE WAS UNKNOWN. THE VIN WAS NOT
AVAILABLE. *DT*JB

NHTSA ID Number: 11321370
Complaint Date April 17, 2020
Incident Date April 17, 2020
Consumer Location RIVERSIDE, CA
Vehicle Identification Number 3VW5T7BU7KM****
Summary of Complaint
WHEN I?M DRIVING THE CAR WILL JUST STALL OUT OF NOWHERE, THEN AFTER
THIS HAPPENS I WOULD START THE VEHICLE BACK UP AND IT WILL CUT OFF

NHTSA ID Number: 11360647
Complaint Date: September 23, 2020
Incident Date: May 19, 2020
Consumer Location: ATHENS, TX
Vehicle Identification Number:3VWC57BU2KM****
Summary of Complaint
RECENTLY PURCHASED A 2019 VW JETTA AND HAVING THE SAME ISSUES THAT
MANY OF THE OTHER OWNERS ARE EXPERIENCING. UNDER LOW ACCELERATION
IT STALLS AND MAKES A GRINDING, WHIRRING SOUND BELOW 20-30 MPH. IT
MAKES ME TIMID TO DRIVE IT BECAUSE IT HAS ALMOST CAUSED PEOPLE TO
REAR END ME DUE TO THE STALL. IT FALLS ON ITS FACE WHEN YOU NEED IT TO
MOVE. I'M CONCERNED AS THE NOISE HAS GOTTEN LOUDER THE LAST FEW
MONTHS. I HAVE NOT TAKEN IT TO THE DEALERSHIP YET, BUT NOW UPON
READING ALL OF THE CONCERNS, IT SEEMS TO BE A WASTE OF TIME TO TAKE IT
TO THE DEALER.


                                 2018 Tiguan

NHTSA ID Number: 11114461
Complaint Date July 30, 2018
Incident Date July 27, 2018

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Consumer Location WOODBRIDGE, CT
Vehicle Identification Number 3VV2B7AX5JM****
Summary of Complaint
THIS VEHICLE HAS A DRIVE ABILITY PROBLEM. THE CAR HAS A MAJOR
HESITATION AND IS VERY DANGEROUS WHEN PULLING ONTO THE HIGHWAY.
THE CAR ALMOST CUTS OUT BUT DOESN'T STALL AND FIND IT VERY
DANGEROUS. THE DEALER TOLD ME THAT NOTHING IS WRONG WITH IT. ALSO,
THERE WAS A RECALL ON MY AMBIENT LIGHTING ON MY SUNROOF. THERE
COULD BE A LEAK OR HUMIDITY COULD AFFECT THE WIRING AND COULD
CAUSE A FIRE. THERE FIX IS TO DISCONNECT IT. I HAVE NO SUNROOF LIGHTING.
I SHOULD GET A REFUND FOR SOMETHING THEY TOOK AWAY

NHTSA ID Number: 11156726
Complaint Date August 19, 2018
Incident Date July 15, 2018
Consumer Location RICHMOND, VA
Vehicle Identification Number 3VV2B7AXXJM****
Summary of Complaint
I PURCHASED MY TIGUAN SE 4MOTION IN JULY 2018 AND SINCE I HAVE OWNED
THE VEHICLE I HAVE HAD ISSUES WITH THE ACCELERATION AND NOISE COMING
FROM THE PASSENGER SIDE B PILLAR. THE ACCELERATION FEELS LIKE A TURBO
LAG FROM THE START WHERE THE GAS PEDAL IS PRESSED BUT THE VEHICLE
HESITATES TO RESPOND CAUSING A SMALL "STALL". THIS HAPPENS IN BOTH
DRIVE AND SPORT MODES. WHEN ACCELERATING UP-HILL THE VEHICLE HAS
ISSUES WITH FINDING THE PROPER GEAR AND CONSTANTLY SEARCHES FOR A
GEAR TO SETTLE ON. THE B PILLAR NOISE SOUNDS LIKE LOUD CLICKING WHEN
GOING OVER BUMPS AND RUTS IN THE ROAD AND EVEN MAKES A NOISE WHEN
OPENING THE DOOR TO ITS FULLEST.

NHTSA ID Number: 11112369
Complaint Submitted: July 19, 2018
Date of Incident: January 15, 2018
Consumer Location: Kemah, TX
Vehicle Identification No. (VIN): 3VV3B7AX3JM
Summary of Complaint:
WE PURCHASED OUR 2018 TIGUAN IN JANUARY OF THIS YEAR FROM
MOMENTUM VOLKSWAGEN OF CLEAR LAKE. OUR CAR HAS BEEN IN 3 TIMES FOR
SERVICE AND EACH TIME (AT 5K, 10K, AND 15 MILES), I HAVE EXPLAINED TO THE
SERVICE WRITERS THAT MY CAR HAS A LAG, A STOP IN THE THROTTLE AND
TURBO, WHERE IT FAILS TO ACCELERATE IMMEDIATELY UPON PUSHING THE
GAS PEDAL. THIS DELAY / HESITATION / AND ALL OUT STALLING IS PLACING ME
IN VERY DANGEROUS SITUATIONS WHILE DRIVING.TWICE IN THE LAST WEEK, IT
HAS COMPLETELY STALLED (ENGINE DOES NOT SHUT OFF BUT CAR WILL NOT
GO) WHERE I WAS ALMOST REAR-ENDED ON THE FREEWAY IN ONE OCCASION
AND ALMOST T-BONED IN AN INTERSECTION IN THE OTHER. THE FOLKS AT THE
DEALERSHIP EXPLAINED THIS IS A “KNOWN CHARACTERISTIC OF THIS

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VEHICLE”. NOT ONE TIME, WHEN I WAS PURCHASING THIS VEHICLE WAS IT
EXPLAINED TO ME THAT THE TIGUAN WOULD FAIL TO ACCELERATE AND PUT
ME IN SUCH A DANGEROUS POSITION. I HAVE REPORTED THIS TO VW AND MY
LOCAL NEWS MEDIA. I FIND IT ABSURD THAT THIS IS A KNOWN
CHARACTERISTIC OF THE VEHICLE AND NOT ONCE WAS THIS MENTIONED AS
THE REASON UNTIL MY THIRD VISIT AT 15,000 MILES WHERE THE DEPRECIATION
OF MY VEHICLE MAKES IT A TOTAL LOSS FOR ME TO TRY TO EVEN GET A SAFER
VEHICLE. WHY IN WORLD, HAS THIS KNOWN FAILURE OF ACCELERATION NOT
BEEN REPAIRED IN ANYWAY?

NHTSA ID Number: 11352943
Complaint Date: September 3, 2020
Incident Date: August 1, 2019
Consumer Location: SUMMERVILLE, SC
Vehicle Identification Number: 3VV3B7AX2JM****
Summary of Complaint
THE VEHICLE SIGNIFICANTLY HESITATES WHEN ACCELERATING FROM A STOP
OR OCCASINGLY SURGES UNDER HEAVIER THROTTLE PRESSURE WHILE TRYING
TO ACCELERATE ONTO THE HIGHWAY. YOU HAVE TO PUSH THE GAS ALL THE
WAY TO FLOOR TO GET A RESPONSE FROM THE VEHICLE FROM A DEAD STOP.
THE VEHICLE WILL START TO GO THEN ACT LIKE IT IS GOING TO STALL THEN
START TO MOVE. IT IS VERY CONCERNING WHEN TRYING TO PULL INTO
TRAFFIC. THIS HAS BEEN AN ISSUE SINCE THE VEHICLE WAS PURCHASED IN
2018, BUT THE ISSUE SEEMS TO BE GETTING WORSE AS THE VEHICLE GETS MORE
MILEAGE. I BEGAN RESEARCHING THE ISSUE ONLINE AND THIS SEEMS TO BE A
COMMON ISSUE. PLEASE SEE LINK:

HTTPS://M.CARCOMPLAINTS.COM/VOLKSWAGEN/TIGUAN/2018/FUEL_SYSTEM/FU
EL_PROPULSION_SYSTEM.SHTML

                                 2019 Tiguan

NHTSA ID Number: 11268473
Complaint Date October 15, 2019
Incident Date October 14, 2019
Consumer Location INDEPENDENCE, MO
Vehicle Identification Number 3VV1B7AX1KM****
Summary of Complaint
OUR 2019 VW TIGUAN WITH 2 LITER TURBO MOTOR HAS A RANDOM AND
REPEATED ENGINE "STALL" ISSUE. THE ENGINE DOES NOT DIE BUT REMAINS AT
IDLE (1000 RPM), IN EITHER D OR S AUTO TRANS MODE, BUT THERE IS NO
FORWARD MOVEMENT EVEN THOUGH THE GAS PEDAL IS AGAINST FLOOR
BOARD AND THEN THERE IS A RUSH OF POWER, THIS DELAY LASTS FROM 1 TO 5
SECONDS, JUST ENOUGH TO CAUSE TRAFFIC MERGING ISSUES. THIS PROBLEM
USUALLY OCCURS FROM STANDING START WHEN DRIVEN STRAIGHT AHEAD OR
TURNING. SO FAR HAS NOT OCCURRED ABOVE 50MPH WHEN ENTERING

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FREEWAY.

THIS HAS OCCURRED SINCE CAR WAS DELIVERED NEW WITH 40 MILES ON
ODOMETER AND CONTINUES NOW AT 1200 MILES AND USUALLY AT SPEEDS
FROM 0 - 25 MPH AND UNDER 2000 RPM. I SPOKE TO THE LOCAL VW SERVICE
MANAGER AND HE SUGGESTED IT WAS JUST TURBO LAG. I HAVE OWNED TURBO
CARS IN PAST AND THIS IS NOT TURBO LAG, IT IS A LOSS OF "SIGNAL" DUE TO
DRIVE BY WIRE TECHNOLOGY WHICH SHOULD NEVER BE ALLOWED ON A
VEHICLE!!!!!!!!!!!!!!!!! OTHERWISE THE MOTOR OPERATES FINE, PROVIDING
DECENT GAS MILEAGE AND POWER WHEN ON-BOOST ABOVE 2000 RPM. OUR
LAST NEW CAR A 2016 GMC TERRAIN WAS ALSO DRIVE BY WIRE BUT NEVER
EXHIBITED THIS ISSUE. THERE ARE NUMEROUS COMPLAINTS ONLINE
DUPLICATING THIS PROBLEM WHICH I HAD HOPED WAS CLEARED UP IN OLDER
VERSIONS, EVIDENTLY NOT.

NHTSA ID Number: 11327194
Complaint Date: June 3, 2020
Incident Date: June 1, 2020
Consumer Location: GALENA, IL
Vehicle Identification Number: 3VV0B7AXXKM****
Summary of Complaint
NEW 2019 TIGUAN S 4MOTION PURCHASED IN FEB 2020 AND HAS ABOUT 8K
MILES. ALREADY HAVING ISSUES WITH HARD SHIFTING (BOTH UP AND DOWN)
AND HAVE HAD THE VEHICLE CHUG/STALL AND ALMOST CAUSE A CRASH 2
TIMES NOW BECAUSE IT WOULDN’T ACCELERATE. ALL OF THESE ISSUES ARE
AFTER ABOUT HALF HOUR OF DRIVING. HARD DOWNSHIFT IS NORMALLY
AROUND 20-30MPH AND UP SHIFT 30-40. NEVER JERKED BEFORE AND NOW IT S
HARD AND VERY UNSAFE.

                                  2019 Golf

NHTSA ID Number: 11281274
Complaint Date: November 20, 2019
Incident Date: November 15, 2019
Consumer Location: ALLENDALE, NJ
Vehicle Identification Number: 3VW5T7AU5KM****
Summary of Complaint
2019 GTI 6MT STALLS. THE ISSUE PRESENTS ITSELF SLOWING DOWN TO A STOP,
WHERE THE ENGINE WILL SOFT STALL AND REQUIRE RESTARTING. THIS HAS
HAPPENED WHEN STOPPED AT A LIGHT, AS WELL AS WHEN IN MOTION,
COASTING TO A STOP. IT HAS HAPPENED ON THE HIGHWAY, IN HEAVY TRAFFIC,
AS WELL AS PARKING IN A PARKING SPOT. THE UNSAFE CONDITION IS WHEN IN
HEAVY TRAFFIC, IN RUSH HOUR ON RT 287 (MAJOR HIGHWAY) COASTING TO A
STOP, THE ENGINE DIES AND I LOOSE CONTROL OF THE STEERING WHEEL
CONTROL AND ACCELERATION. THE START STOP BUTTON NEEDS TO BE PUSHED



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TO GET THE CAR TO START UP AGAIN. THE CAR IS BRAND NEW AND HAS
ROUGHLY 650 MILES ON IT.

NHTSA ID Number: 11270430
Complaint Date: October 23, 2019
Incident Date: October 23, 2019
Consumer Location: OAKLAND, CA
Vehicle Identification Number: 3VW5T7AU8KM****
Summary of Complaint
I HAD SOME ENGINE STALL PROBLEMS WITH THE VEHICLE WHEN FIRST
PURCHASED. THE ENGINE WOULD CUT OFF QUIETLY WHILE AT A STOP LIGHT
AND BEGINNING TO DEPRESS THE CLUTCH WHILE IN NEUTRAL. HAPPENED IN
HEAVY TRAFFIC ON THE HIGHWAY AND IN STOP-AND-GO CITY TRAFFIC. I
BROUGHT IT BACK TO THE DEALERSHIP AND THEY CLAIM TO HAVE RESET THE
ENGINE CONTROL MODULE. UPON A FEW DAY AFTER RETURN, THE ENGINE CUT
OFF WHILE THE CLUTCH WAS DEPRESSED IN THE MIDDLE OF A TURN.

NHTSA ID Number: 11245618
Complaint Date: August 21, 2019
Incident Date: August 19, 2019
Consumer Location: ODENTON, MD
Vehicle Identification Number: 3VW217AU3KM****
Summary of Complaint
THE MOTOR COMPLETELY SHUTS OFF UNEXPECTEDLY WHILE THE CAR IS IN
MOTION. SOMETIMES THERE WILL BE A LOSS PF ENGINE POWER AND A
“STUTTERING” AND JERKING JUST BEFORE THE STALL OCCURS, BUT NOT
ALWAYS. AT FASTER SPEEDS THERE IS A HARD THUMP AND SUDDEN
DECELERATION. MY CAR HAS STALLED 14 TIMES WHILE IN MOTION AT SPEEDS
FROM 20 MPH TO 60 MPH SINCE I STARTED COUNTING (THERE HAVE BEEN MORE
STALLS THAN THIS). THE CAR ALSO NOW STALLS AT STOP LIGHTS, STOP SIGNS,
OR SIMPLY WHILE IDLING IN NEUTRAL (I HAVE VIDEO OF THE MOTOR SHUTTING
OFF). THE ISSUE FIRST APPEARED AT ABOUT 310 MILES ON THE ODOMETER ON 19
AUGUST 2019. THE CAR NOW HAS ONLY 372 MILES ON IT. ALL STALLS HAVE
OCCURRED WHILE CAR WAS BEING DRIVEN IN A STRAIGHT LINE, ON BOTH
LOCAL ROADS AND A STATE ROUTE HIGHWAY. THE CHECK ENGINE LIGHT DOES
NOT COME ON WHEN THESE STALLS OCCUR. THERE HAVE BEEN THREE NEAR-
ACCIDENTS SINCE THE PROBLEM OCCURRED. CAR WAS PURCHASED 29 JULY
2019, VEHICLE HAD 122 MILES ON IT FROM DELIVERY FROM A PENNSYLVANIA
DEALER TO MY DEALER IN MARYLAND.



NHTSA ID Number: 11255801
Complaint Date: September 16, 2019
Incident Date: April 12, 2019
Consumer Location: FULTON, MD

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Vehicle Identification Number: 3VW5T7AU9KM****
Summary of Complaint
PURCHASED 2019 GTI RABBIT EDITION 6MT. SOON AFTER PURCHASE, VEHICLE
BEGAN STALLING UNEXPECTEDLY WHEN COMING TO A STOP WHEN CAR IS IN
NEUTRAL. HAS HAPPENED WHEN CLUTCH IS EITHER DEPRESSED OR NOT.
SOMETIMES CAR HAS STALLED WHEN FULLY STOPPED. IN THIS CASE THE CAR
STARTS IDLING ROUGHLY AND SHUDDERS BEFORE STALLING. CAR STARTS UP
AGAIN WITH NO WARNING LIGHTS ILLUMINATED. CALL HAS STALLED 6+ TIMES
SINCE PURCHASE. CAR HAS ALSO EXHIBITED EXCESSIVE VIBRATION COMING
FROM THE ENGINE SINCE PURCHASE. DEALERS HAVE NOT REALLY BEEN
HELPFUL; THEY EITHER DENY THAT THERE IS A PROBLEM OR SAY THAT THE
WHEELS/TIRES NEED BALANCING, HOWEVER BALANCING AND REPLACING THE
TIRES DID NOT FIX THE ISSUE. I AM POSITIVE THIS IS RELATED TO THE STALLING
ISSUES. ALSO, THE GEAR NUMBER INDICATOR SOMETIMES SHOWS THAT THE
CAR IS A A DIFFERENT GEAR THAN WHAT IS CURRENTLY SELECTED (I.E., CAR IS
IN 4TH BUT GEAR INDICATOR INCORRECTLY SHOWS THE CAR IS IN 2ND). I HAVE
SEEN THAT OTHER OWNERS HAVE THESE SAME EXACT ISSUES WHICH MEANS
THAT THESE ARE MANUFACTURING DEFECTS IN THE VEHICLE. THIS IS A SAFETY
ISSUE BECAUSE THE CAR COULD STALL AT ANYTIME MAKING IT HARDER TO
CONTROL OR STOP, ESPECIALLY IN AN EMERGENCY.

NHTSA ID Number: 11298397
Complaint Submitted: January 10, 2020
Date of Incident: January 9, 2020
Consumer Location: Unknown
Vehicle Identification No. (VIN): 3VW6T7AU9KM
Summary of Complaint:
ENGINE STALLS REPEATEDLY WHILE SLOWING TO A STOP

NHTSA ID Number: 10893166
Complaint Submitted: August 4, 2016
Date of Incident: July 7, 2016
Consumer Location: Ashburn, VA
Vehicle Identification No. (VIN): 1VWAT7A35FC
Summary of Complaint:
RECENTLY MY 2015 VW PASSAT STALLED WHILE STOPPED AT A RED LIGHT.
DEALER ADVISED THAT IT WAS GIVING CODES FOR A MALFUNCTIONING AIR
INTAKE ABSOLUTE PRESSURE SENSOR. AFTER IT WAS REPLACED UNDER
WARRANTY, THE ENGINE CONTINUED TO RUN VERY ROUGH AND SEEMED TO BE
SLUGGISH. ON TAKING IT BACK TO THE DEALER I HAVE BEEN ADVISED THAT
THE CODE FOR THE ABSOLUTE PRESSURE SENSOR HAS REAPPEARED AND VW
SUSPECTS THAT IT IS AN ENGINE ELECTRICAL HARNESS PROBLEM WHICH IS DUE
FOR REPLACEMENT. ADDITIONALLY, THE ESC LIGHT LIT UP ON THE DASHBOARD
ONE EVENING AND STAYED ON FOR ABOUT AN HOUR AND WENT AWAY AFTER
THE ENGINE HAD BEEN TURNED OFF FOR ABOUT AN HOUR. BASED ON OTHER
COMPLAINTS I READ, THERE APPEARS TO BE A PATTERN IN SUCH

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MALFUNCTIONS - EITHER ELECTRICAL OR COMPUTER-RELATED. IF THE CAR
WERE TO STALL OR GO OUT OF CONTROL IN FULL TRAFFIC, IT COULD LEAD TO A
POTENTIALLY LIFE-THREATENING SITUATION.

NHTSA ID Number: 11120926
Complaint Submitted: August 19, 2018
Date of Incident: August 19, 2018
Consumer Location: Clio, Michigan
Vehicle Identification No. (VIN): WVGWV7AX4HK
Summary of Complaint:
WHILE DRIVING AT A CONSTANT SPEED OR DECELERATING THE ENGINE WILL
STALL WITHOUT WARNING. THE ENGINE RUNS SO QUIETLY THE ONLY
INDICATION THAT IT HAS STALLED IS THERE IS NO POWER AND THE STEERING
BECOMES MORE DIFFICULT AS THE VEHICLE GETS SLOWER. IT DOESN'T SEEM TO
MATTER YOUR SPEED, IT WILL JUST STALL AND THIS CAN BE INCREDIBLY
DANGEROUS. ORIGINALLY HAPPENED IN 2017 AND TOOK TO THE VW
DEALERSHIP BUT THEY COULDN'T FIND ANYTHING WRONG. IT IS HAPPENING
AGAIN TODAY AND EARLIER THIS WEEK


                              CLASS ACTION ALLEGATIONS

       122.    Plaintiffs bring this action on behalf of themselves, and on behalf of the following

class pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and/or 23(b)(3):

       Nationwide Class:
       All persons or entities in United States who are current or former owners and/or
       lessees of a Class Vehicle (the “Nationwide Class”).

       123.    In the alternative to the Nationwide Class, and pursuant to Fed. R. Civ. P.

23(c)(5), Plaintiffs Kate and Noreen Conroy, Precourt, Pidlaoan, and Bivens seek to represent

the following state subclasses only in the event that the Court declines to certify the Nationwide

Class above:

       New Jersey Subclass:
       All persons or entities in New Jersey who are current or former owners and/or lessees of
       a Class Vehicle (the “New Jersey Subclass”).

       New York Subclass:
       All persons or entities in New York who are current or former owners and/or lessees
       of a Class Vehicle (the “New York Subclass”).



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       Florida Subclass:
       All persons or entities in Florida who are current or former owners and/or lessees
       of a Class Vehicle (the “Florida Subclass”).

       California Subclass:
       All persons or entities in California who are current or former owners and/or lessees
       of a Class Vehicle (the “California Subclass”).

       Ohio Subclass:
       All persons or entities in Ohio who are current or former owners and/or lessees of
       a Class Vehicle (the “Ohio Subclass”).

       124.    Together, the National Class, the New Jersey Subclass, the New York Subclass,

the Florida Subclass, the California Subclass, and the Ohio Subclass shall be collectively

referred to herein as the “Class.”

       125.    Excluded from the Class are Defendants, their affiliates, employees, officers and

directors, persons or entities who purchased the Class Vehicles for resale, and the Judge(s)

assigned to this case. Plaintiffs reserve the right to modify, change or expand the Class

definitions after conducting discovery.

       126.    Numerosity: Upon information and belief, the Class is so numerous that joinder of

all members is impracticable. While the exact number and identities of individual members of

the Class is unknown at this time, such information being in the sole possession of Volkswagen

and obtainable by Plaintiffs only through the discovery process, Plaintiffs allege that tens of

thousands of Class Vehicles have been sold and leased throughout the United States, including

within New Jersey, New York, Florida, Ohio and California.

       127.    Existence and Predominance of Common Questions of Fact and Law: Common

questions of law and fact exist as to all members of the Class. These questions predominate over

the questions affecting individual Class members. These common legal and factual questions

include, but are not limited to:



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           a. whether the engines in the Class Vehicles suffer from the Engine Stalling Defect;

           b. whether the Engine Stalling Defect is a safety issue;

           c. whether Defendants concealed or failed to disclose the existence and cause of the

               Engine Stalling Defect in Class Vehicles;

           d. whether Defendants’ conduct violates the New Jersey and/or New York and/or

               Florida and/or California and/or Ohio consumer protection statute(s);

           e. whether Defendants’ failure to remedy the Engine Stalling Defect in Class

               Vehicles violates the Magnuson-Moss Warranty Act;

           f. whether Defendants have breached their express warranties;

           g. whether Defendants have breached their implied warranties;

           h. whether Defendants have been unjustly enriched through the sales of the Class

               Vehicles that have the Engine Stalling Defect; and

           i. whether Plaintiffs and Class members are entitled to monetary damages and/or

               other remedies.

       128.    Typicality: All of the Plaintiffs’ claims are typical of the claims of the Class since

Plaintiffs purchased or leased their Class Vehicle with the Engine Stalling Defect, as did each

member of the Class. Furthermore, Plaintiffs and all members of the Class sustained monetary

and economic injuries including, but not limited to, ascertainable loss arising out of

Volkswagen’s wrongful conduct. Plaintiffs are advancing the same claims and legal theories on

behalf of themselves and all absent Class members.

       129.    Adequacy: Plaintiffs are adequate representatives because their interests do not

conflict with the interests of the Class that they seek to represent, they have retained counsel

competent and highly experienced in complex class action litigation, and they intend to prosecute



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this action vigorously. Thus, the interests of the Class will be fairly and adequately protected by

Plaintiffs and their counsel.

       130.    Superiority: A class action is superior to all other available means of fair and

efficient adjudication of the claims of Plaintiffs and members of the Class. The injury suffered by

each individual Class member is relatively small in comparison to the burden and expense of

individual prosecution of the complex and extensive litigation necessitated by Volkswagen’s

conduct. It would be virtually impossible for members of the Class to individually and

effectively redress the wrongs done to them. Even if the members of the Class could afford such

individual litigation, the court system could not. Individualized litigation presents a potential for

inconsistent or contradictory judgments. Individualized litigation also increases the delay and

expense to all parties, and to the court system, presented by the complex legal and factual issues

of the case. By contrast, the class action device presents far fewer management difficulties, and

provides the benefits of single adjudication, economy of scale, and comprehensive supervision

by a single court. Upon information and belief, members of the Class can be readily identified

and notified based on, inter alia, Volkswagen’s vehicle identification numbers (VINs), warranty

claims, registration records, and the database of complaints.

       131.    Injunctive Relief: Pursuant to Fed. R. Civ. P. 23(b)(2), Volkswagen has acted or

refused to act on grounds generally applicable to the Class, thereby making appropriate final

injunctive relief, corresponding declaratory relief, or final equitable relief with respect to the

class as a whole.

                                    VIOLATIONS ALLEGED

                                      COUNT I
              VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 349
                            (N.Y. GEN. BUS. LAW § 349)
                          (On Behalf of the New York Class)

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          132.   Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

          133.   Plaintiff Precourt brings this cause of action on behalf of himself and on behalf of

the members of the New York Class.

          134.   Plaintiff Precourt and the New York Class members are “persons” within the

meaning of New York General Business Law (“New York GBL”). N.Y. Gen. Bus. Law §

349(h).

          135.   Defendants are “person[s],” “firm[s],” “corporation[s],” or “association[s]” within

the meaning of N.Y. Gen. Bus. Law § 349.

          136.   New York’s General Business Law § 349 makes unlawful “[d]eceptive acts or

practices in the conduct of any business, trade or commerce.” N.Y. Gen. Bus. Law § 349.

          137.   Defendants’ conduct, as described in this Complaint, constitutes “deceptive acts

or practices” within the meaning of the New York GBL. Defendants’ deceptive acts and

practices, which were intended to mislead consumers in a material way in the process of

purchasing or leasing the Class Vehicles, constitute conduct directed at consumers and

“consumer-oriented.” Further, Plaintiff Precourt and the New York Class members suffered

injury as a result of the deceptive acts or practice.

          138.   Defendants’ actions, as set forth above, occurred in the conduct of business, trade

or commerce.

          139.   Defendants participated in unfair or deceptive trade practices that violated the

New York GBL as described below and alleged throughout the Complaint. By concealing the

true nature of the Class Vehicles, Defendants knowingly and intentionally misrepresented and

omitted material facts in connection with the sale of the Class Vehicles. Defendants

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systematically misrepresented, concealed, suppressed, or omitted material facts relating to the

Class Vehicles in the course of its business.

       140.    Defendants also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale of the Class Vehicles.

       141.    Defendants’ unfair and deceptive acts or practices occurred repeatedly in

Defendants’ trade or business, were capable of deceiving a substantial portion of the purchasing

public, and imposed a serious safety risk on the public.

       142.    Defendants knew that the risks inherent in the Class Vehicles made them not

suitable for their intended use.

       143.    Defendants knew or should have known that their conduct violated the New York

GBL.

       144.    Had Plaintiff Precourt and the New York Class members known the truth about

the Class Vehicles, they would not have purchased them or would have paid substantially less or

them. Plaintiff Precourt and the New York Class did not receive the benefit of their bargain as a

result of Defendants’ misconduct.

       145.    Defendants owed Plaintiff Precourt and the New York Class members a duty to

disclose the truth about the Class Vehicles because Defendants: (a) possessed exclusive, specific

and superior knowledge of the true nature of the Class Vehicles; (b) intentionally concealed the

foregoing from Plaintiff and the New York Class members; and/or (c) made incomplete

representations regarding the Class Vehicles, while purposefully withholding material facts from

Plaintiff Precourt and the New York Class members that contradicted these representations.



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       146.    Plaintiff Precourt and the New York Class members suffered injury in fact to a

legally protected interest. As a result of Defendants’ conduct, Plaintiff Precourt the New York

Class members were harmed and suffered actual damages.

       147.    Defendants’ violations present a continuing risk to Plaintiff Precourt and the New

York Class members, as well as to the general public. Defendants’ unlawful acts and practices

complained of herein affect the public interest.

       148.    Pursuant to N.Y. Gen. Bus. Law § 349(h), Plaintiff Precourt and the New York

Class members seek actual damages or $50, whichever is greater, in addition to discretionary

three times actual damages up to $1,000 for Defendants’ willful and knowing violation of N.Y.

Gen. Bus. Law § 349. Plaintiff Precourt and the New York Class members also seek attorneys’

fees, an order enjoining Defendants’ deceptive conduct, and any other just and proper relief

available under the New York GBL.


                                   COUNT II
              VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR
                            TRADE PRACTICES ACT
                         (FLA. STAT. § 501.201, ET SEQ.)
                          (On Behalf of the Florida Class)

       149.    Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

       150.    Plaintiffs Kate and Noreen Conroy (“Plaintiffs” for purposes of this Count) bring

this claim on behalf of themselves and the members of the Florida Class against Defendants.

       151.    Plaintiffs and the Florida Class members are “consumers” within the meaning of

Fla. Stat. § 501.203(7).

       152.    Defendants are engaged in “trade or commerce” within the meaning of Fla. Stat. §

501.203(8).


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       153.    Defendants omitted disclosure of the known and material fact that the Class

Vehicles possess the Engine Stalling Defect. This conduct constitutes unfair methods of

competition, unconscionable acts or practices, and unfair or deceptive acts or practices within the

meaning of Fla. Stat. §§ 501.204, et seq.

       154.    Reasonable consumers, like Plaintiffs, would be–and actually were– deceived by

Defendants’ conduct in promoting the Class Vehicles without disclosing information concerning

the Engine Stalling Defect.

       155.    As described above, Plaintiffs and the Class suffered damages because the Class

Vehicles suffer from the Engine Stalling Defect.

       156.    The Engine Stalling Defect caused Plaintiffs and other Florida Subclass members

to sustain damages in the form of loss of use of their vehicles, early lease termination fees, costs

to repair the Engine Stalling Defect, and even related costs such as replacement of the clutch and

associated components.

       157.    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

the Florida Class Members have suffered harm in that they bought Class Vehicles they otherwise

would not have, overpaid for their Class Vehicles, did not receive the benefit of their bargain,

and their Class Vehicles suffered a diminution in value.

       158.    The Class Vehicles do not function as advertised and warranted by Defendants.

This condition has caused damages to Plaintiffs, which can be measured with specificity based

upon, inter alia, the overpayment at the time of purchase, necessity of early lease termination, as

well as cost of parts and labor to address the Engine Stalling Defect.

       159.    As a result of Defendants’ omissions, Plaintiffs and the Florida Class suffered

actual damages within the meaning of Fla. Stat. § 501.211, because they were or will be forced



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to pay for parts and labor to address the Engine Stalling Defect their Class Vehicles’ batteries.

Additionally, Plaintiffs and the other Class members overpaid for their Class Vehicles and did

not receive the benefit of their bargain, and may have incurred early lease termination fees.

                                      COUNT III
       VIOLATION OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT
                       (“CLRA”) (CAL. CIV. CODE §§ 1750, et seq.)
        (On Behalf of the Nationwide Class or, Alternatively, the California Class)

       160.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though fully set forth and length herein.

       161.     Plaintiff Pidlaoan brings this claim on behalf of himself and the members of the

California Class against Defendant.

       162.    Defendant violated the Consumers Legal Remedies Act (CLRA), California Civil

Code sections 1770(a)(5), (7), (9), (14), and (16), by engaging in unfair methods of competition

and unfair and deceptive acts and practices in connection with transactions—namely, the sale of

Class Vehicles to Plaintiff Pidlaoan and the proposed California Class—that were intended to,

and did, result in the sale and lease of goods to consumers.

       163.    In connection with the sale of Class Vehicles to Plaintiff Pidlaoan and California

Class members, Defendant knowingly concealed and failed to disclose the fact that the Class

Vehicles are defective, with the intent that Plaintiff Pidlaoan and the proposed class rely upon

that concealment, suppression, or omission when purchasing or leasing Class Vehicles. The

existence of the Engine Stalling Defect is material to a reasonable consumer in that it poses an

unreasonable risk to their safety, may lead to thousands of dollars in repair and incidental

expenses, requires inconvenient maintenance efforts, and causes the Class Vehicles to be worth

substantially less than they would otherwise be valued.

       164.    Following Plaintiff Pidlaoan and proposed Class members’ purchase and lease of

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Class Vehicles, Defendant has continued to conceal and fail to disclose the defect.

       165.    As a direct and proximate result of Defendants’ conduct, Plaintiff Pidlaoan and

California Class members have been harmed. Plaintiff Pidlaoan and the other California Class

members bought or leased Class Vehicles they otherwise would not have, overpaid for their

vehicles, did not receive the benefit of their bargain, and their Class Vehicles suffered a

diminution in value. Plaintiff Pidlaoan and California Class members have also incurred and will

continue to incur costs for addressing the Engine Stalling Defect in their Class Vehicles.

Meanwhile, Defendant has sold more Class Vehicles than it otherwise could have and charged

inflated prices for Class Vehicles, thereby unjustly enriching itself.

       166.    On September 14, 2020, and pursuant to Cal. Civ. Code § 1782(a), Plaintiffs sent

notice to Volkswagen regarding its violations of the CLRA. After the 30-day notice period

expires, Plaintiff Pidlaoan will seek leave to amend this complaint to seek monetary damages

under the CLRA.

       167.    Pursuant to California Civil Code § 1780, and subject to the preceding paragraph,

Plaintiff seeks all relief available under the CLRA, including an order requiring Defendant to

adequately disclose and repair the Engine Stalling Defect, as well as attorney fees and costs.

                                       COUNT IV
          VIOLATION OF THE CALIFORNIA BUSINESS AND PROFESSIONS
                         CODE (CAL. BUS. & PROF. CODE § 17200)
         (On Behalf of the Nationwide Class or, Alternatively, the California Class)

       168.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though fully set forth at length herein.

       169.    Plaintiff Pidlaoan brings this claim on behalf of himself and on behalf of the

members of the California Class against Defendant.

       170.    Defendants’ acts and practices, as alleged in this complaint, constitute unlawful,

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unfair, and fraudulent business practices, in violation of the Unfair Competition Law, Cal. Bus &

Prof. Code §§ 17200, et seq.

       171.    Defendants’ acts and practices constitute unlawful business practices, as discussed

elsewhere in this Complaint, in that they violate the Magnuson-Moss Warranty Act, California’s

Consumers Legal Remedies Act, and California’s Song-Beverly Consumer Warranty Act, and

breach Volkswagen’s warranties.

       172.    Defendants’ acts and practices constitute unfair practices in that (i) they are

unethical, unscrupulous, and substantially injurious to consumers; (ii) any legitimate utility of

Defendants’ conduct is outweighed by the harm to consumers; (iii) the injury is not one that

consumers reasonably could have avoided; and/or (iv) the conduct runs afoul of the public

policies underlying the Magnuson-Moss Warranty Act, California’s Consumers Legal Remedies

Act, and California’s Song-Beverly Consumer Warranty Act, which seek to protect consumers

against unfair and sharp business practices and to promote a basic level of honesty and reliability

in the marketplace, and thus provide a sufficient predicate for Plaintiff Pidlaoan’s claims for

unfair business practices.

       173.    Defendants’ acts and practices constitute fraudulent practices in that they are

likely to deceive a reasonable consumer, who would not have purchased a Class Vehicle had

Defendant adequately disclosed the Engine Stalling Defect and its ramifications.

       174.    As a direct and proximate result of Defendants’ unlawful, unfair, and fraudulent

business practices, Plaintiff Pidlaoan and the proposed California Class have suffered injury in

fact and lost money or property, in that they bought or leased Class Vehicles they otherwise

would not have, overpaid for their vehicles, did not receive the benefit of their bargain, and their

Class Vehicles suffered a diminution in value. Plaintiff Pidlaoan and California Class members



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have also incurred and will continue to incur costs for replacement batteries and incidental

expenses. Meanwhile, Defendant has sold more Class Vehicles than it otherwise could have and

charged inflated prices for Class Vehicles, unjustly enriching itself thereby.

          175.   Plaintiff Pidlaoan and the proposed California Class are entitled to equitable

relief, including restitutionary disgorgement of all profits accruing to Defendant because of their

deceptive practices and an order requiring Volkswagen to adequately disclose and repair the

defect.

                                     COUNT V
             VIOLATION OF SONG-BEVERLY CONSUMER WARRANTY ACT
                     FOR BREACH OF EXPRESS WARRANTIES
                       (CAL. CIV. CODE §§ 1791.2 & 1793.2(D))
                          (On Behalf of the California Class)

          176.   Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

          177.   Plaintiff Pidlaoan brings this claim on behalf of himself and on behalf of the

members of the California Class against Defendant.

          178.   Plaintiff Pidlaoan and the other California Class members who purchased or

leased the Class Vehicles in California are “buyers” within the meaning of Cal. Civ. Code

§ 1791(b).

          179.   The Class Vehicles are “consumer goods” within the meaning of Cal. Civ. Code

§ 1791(a).

          180.   Volkswagen is a “manufacturer” of the Class Vehicles within the meaning of Cal.

Civ. Code § 1791(j).

          181.   Volkswagen made express warranties to Plaintiff Pidlaoan and the other

California Class members within the meaning of Cal. Civ. Code §§ 1791.2 and 1793.2, as


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described above.

       182.    Defendants breached these warranties by selling and leasing Class Vehicles with

the defect, requiring repair or replacement within the applicable warranty periods, and refusing

to honor the warranties by providing free repairs or replacements during the applicable warranty

periods.

       183.    Defendants did not promptly replace or buy back the vehicles of Plaintiff and

proposed California Class members.

       184.    As a direct and proximate result of Volkswagen’s breach of its express warranties,

Plaintiff Pidlaoan and the other California Class members received goods whose condition

substantially impairs their value to Plaintiff and the other Class members. Plaintiff Pidlaoan and

the other Class members have been damaged as a result of, inter alia, the diminished value of

Volkswagen’s products, the Class Vehicles’ malfunctioning, and actual and potential increased

maintenance and repair or replacement costs.

       185.    Pursuant to Cal. Civ. Code §§ 1793.2 and 1794, Plaintiff Pidlaoan and the other

Class members are entitled to damages and other legal and equitable relief including, at their

election, the purchase price of their Class Vehicles, or the overpayment or diminution in value of

their Class Vehicles.

       186.    Pursuant to Cal. Civ. Code § 1794, Plaintiff Pidlaoan and the other California

Class members are entitled to costs and attorney fees.

                                 COUNT VI
        VIOLATION OF SONG-BEVERLY ACT – BREACH OF IMPLIED
       WARRANTY VIOLATIONS OF CALIFORNIA CIVIL CODE §§ 1792,
                             1791.1, et seq.
                      (On Behalf of the California Class)

       187.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as



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though fully set forth at length herein.

       188.    Plaintiff Pidlaoan brings this claim on behalf of himself and on behalf of the

members of the California Class against all Defendants.

       189.    Class Vehicles are “consumer goods” within the meaning of Cal. Civ. Code §

1791(a).

       190.    Volkswagen is a “manufacturer” within the meaning of Cal. Civ. Code § 1791(j).

       191.    Volkswagen impliedly warranted to Plaintiff and the California Class that Class

Vehicles were “merchantable” within the meaning of Cal. Civ. Code §§ 1791.1(a) & 1792.

       192.    Cal. Civ. Code § 1791.1(a) states: “Implied warranty of merchantability” or

“implied warranty that goods are merchantable” means that the consumer goods meet each of the

following:

       (1) Pass without objection in the trade under the contract description.

       (2) Are fit for the ordinary purposes for which such goods are used.

       (3) Are adequately contained, packaged, and labeled.

       (4) Conform to the promises or affirmations of fact made on the container or label.

       193.    Class Vehicles would not pass without objection in the automotive trade because

the Engine Stalling Defect results in the Class Vehicles failing to operate as intended and

expected.

       194.    Because the Engine Stalling Defect poses an unreasonable risk to driver safety

and materially reduces the reliability and dependability of the vehicles, the Class Vehicles are

not fit for ordinary purposes for which such goods are used.

       195.    Class Vehicles are not adequately labeled because the labeling fails to disclose the

Engine Stalling Defect and does not advise proposed California Class members of the defect.



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        196.     The Engine Stalling Defect deprived Plaintiff Pidlaoan and the proposed

California Class of the benefit of their bargain and have caused Class Vehicles to be worth less

than what Plaintiff and other proposed California Class members paid.

        197.     As a direct and proximate result of Volkswagen’s breach of its duties, proposed

California Class members received goods whose condition substantially impairs their value.

Plaintiff Pidlaoan and the proposed California Class have been damaged by the diminished value

of the vehicles, the vehicles’ malfunctioning, and actual and potential increased maintenance and

repair costs.

        198.     Under Cal. Civ. Code §§ 1791.1(d) and 1794, Plaintiff Pidlaoan and proposed

California Class members are entitled to damages and other legal and equitable relief including,

at their election, the purchase price of their Class Vehicles, or the overpayment or diminution in

value of their Class Vehicles, and are also entitled to their attorney fees and costs.


                                           COUNT VII
                VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                                 (N.J. Stat. Ann. § 56:8-1, et seq.)
                 (On Behalf of the Nationwide Class and/or the New Jersey Class)

        199.     Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

        200.     Plaintiff Villalta, New Jersey Subclass members, and Volkswagen are persons

within the meaning of N.J. Stat. Ann. § 56-8-1(d).

        201.     Volkswagen engaged in the “sale” of “merchandise” within the meaning of N.J.

Stat. Ann. § 56:8-1(c).

        202.     Volkswagen’s advertisements described herein are “advertisements” within the

meaning of N.J. Stat. Ann. § 56:8-1(a).

        203.     The New Jersey Consumer Fraud Act (“NJCFA”) prohibits “any unconscionable

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commercial practice, deception, fraud, false pretense, false promise, misrepresentation, or the

knowing concealment, suppression or omission of any material fact with the intent that others

rely upon such concealment, suppression or omission, in connection with the sale or

advertisement of any merchandise . . . .” N.J. Stat. Ann. § 56:8-2.

       204.    Volkswagen employed unconscionable commercial practices in its advertisement

and sale of the Class Vehicles. Volkswagen’s practices in connection with its advertisement and

sale of the Class Vehicles were unscrupulous and demonstrate a lack of honesty and fair dealing.

       205.    Volkswagen engaged in fraudulent and deceptive trade practices, in violation of

the NJCFA, by misrepresenting and concealing the existence of the Engine Stalling Defect.

Such information was material to a reasonable consumer because, among other things, the

Engine Stalling Defect renders the vehicle inoperable, forces consumers to incur additional

repair expenses, diminishes the value of Class Vehicles, and represents an unreasonable safety

risk to consumers.

       206.    Volkswagen’s material misrepresentations and omissions are highly likely to

mislead the public and induce consumers to make misinformed purchases or leases.

       207.    Volkswagen owed a duty to disclose material facts about the defective nature of

the Class Vehicles because: (1) Volkswagen had exclusive or superior knowledge of the Class

Vehicles’ propensity to stall; (2) Volkswagen knew that Plaintiff Villalta and New Jersey class

members were unaware of the Engine Stalling Defect in the Class Vehicles; (3) Volkswagen

understood the true facts regarding the Engine Stalling Defect in the Class Vehicles, including

that they are defective and cause serious safety issues, would be important to reasonable

prospective buyers of the Class Vehicles; and (4) Volkswagen made representations regarding

the quality and functionality of the Class Vehicles that were misleading, deceptive, and



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incomplete without the disclosure of the true facts regarding the Engine Stalling Defect in the

Class Vehicles.

        208.   The misrepresentations and material omissions described above were uniform

across the New Jersey class. All of the advertising, promotional materials, manuals, and window

stickers contained the same material misrepresentations and omissions.

        209.   The misrepresentations and knowing material omissions were intended to induce

Plaintiff Villalta and New Jersey class members to purchase or lease Class Vehicles. Plaintiff

Villalta and New Jersey class members would not have purchased or leased a Class Vehicle, or

would have paid less for them, in the absence of Volkswagen’s misrepresentations and knowing

material omissions.

        210.   Plaintiff Villalta and New Jersey class members suffered ascertainable loss as a

direct and proximate result of Volkswagen’s unconscionable and deceptive acts and practices.

Among other injures, Plaintiff and New Jersey Subclass members overpaid for their Class

Vehicles, and their Class Vehicles suffered a diminution in value.

        211.   As permitted under N.J. Stat. Ann. § 56:8-19, Plaintiff Villalta and New Jersey

Subclass members seek trebled damages, appropriate injunctive relief, and reasonable attorney’s

fees.

        212.   Pursuant to N.J. Stat. Ann. § 56:8-20, Plaintiffs will serve the New Jersey

Attorney General with a copy of this Complaint.


                                      COUNT VIII
            VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                                (15 U.S.C. § 2301, et seq.)
    (On Behalf of the Nationwide Class, and/or the Florida and/or New York and/or the
                             California and/or Ohio Classes)

        213.   Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if


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they had been set forth in full herein.

       214.    The Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301 et seq., provides a federal

remedy for consumers who have been damaged by the failure of a supplier or warrantor to

comply with any obligation under a written warranty or implied warranty, or other various

obligations.

       215.    An implied warranty of merchantability arose in connection with Plaintiffs’ lease

or purchase of their Class Vehicles by operation of state law under the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301(7).

       216.    The Class Vehicles are each a “consumer product” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

       217.    Plaintiffs and Class members are “consumers” within the meaning of the

Magnuson-Moss. Warranty Act, 15 U.S.C. § 2301(3).

       218.    Volkswagen is a “supplier” and “warrantor” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301(4) & 2301(5).

       219.    Defendants breached the implied warranty of merchantability by leasing or selling

Plaintiffs and Class members Class Vehicles containing the Engine Stalling Defect and thereby

violated the Magnuson-Moss Warranty Act.

       220.    Consequently, Plaintiffs and Class members have suffered injury and are entitled

to damages in an amount to be proven at trial, along with attorney's fees and costs.

                                       COUNT IX
                               UNJUST ENRICHMENT
  (On Behalf of the Nationwide Class, and/or the Florida and/or the New York and/or the
                             California and/or Ohio Classes)

       221.    Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

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       222.    Plaintiffs and the Class conferred a benefit on Defendants by purchasing the Class

Vehicles.

       223.    Defendants had knowledge that this benefit was conferred upon them.

       224.    Because of their wrongful acts and omissions, Defendants charged a higher price

for the Class Vehicles than the Class Vehicles’ true value, and Defendants obtained money

which rightfully belongs to Plaintiffs and the Class.

       225.    Defendants were and continue to be unjustly enriched at the expense of Plaintiffs

and Class members.

       226.    Defendants’ retention (without an offsetting return payment) of the benefit

conferred upon it by Plaintiffs and members of the Class would be unjust and inequitable.

                                        COUNT X
                         BREACH OF EXPRESS WARRANTY
  (On Behalf of the Nationwide Class, and/or the Florida and/or the New York and/or the
                             California and/or Ohio Classes)

       227.    Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

       228.    Defendants expressly warranted that the Class Vehicles were of high quality and,

at a minimum, would work properly. Defendants also expressly warranted that they would repair

and/or replace defects in material and/or workmanship free of charge that occurred during the

New Vehicle Limited Warranty periods.

       229.    Defendants breached these warranties by selling to Plaintiffs and Class members

the Class Vehicles with the known Engine Stalling Defect.

       230.    As a result of the Defendants’ actions, Plaintiffs and Class members have suffered

economic damages including but not limited to loss of vehicle use while their vehicles are

undergoing examination at repair facilities, substantial loss in value and resale value of the

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vehicles, and other related damages, including lease termination fees in some instances.

       231.    Defendants’ attempt to disclaim or limit these express warranties vis-à-vis

consumers is unconscionable and unenforceable under the circumstances present here.

Specifically, Defendants’ warranty limitations are unenforceable because Defendants knowingly

sold a defective product without informing consumers about the Engine Stalling Defect.

Furthermore, Defendants have failed to repair the Defect.

       232.    A gross disparity in bargaining power existed between Volkswagen and Class

members, and Volkswagen knew or should have known that the Class Vehicles were defective at

the time of sale and would fail well before their useful lives.

       233.    Plaintiffs and Class members have complied with all obligations under the

warranties, or otherwise have been excused from performance of said obligations as a result of

Defendants’ conduct described herein.

                                       COUNT XI
                          BREACH OF IMPLIED WARRANTY
  (On Behalf of the Nationwide Class, and/or the Florida and/or the New York and/or the
                             California and/or Ohio Classes)

       234.    Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

       235.    A warranty that the Class Vehicles were in merchantable condition is implied by

law.

       236.    The Class Vehicles, when sold and at all times thereafter, were not in

merchantable condition and are not fit for the ordinary purpose for which automobiles are used.

Specifically, the Class Vehicles are inherently defective in that their engines are predisposed to a

defect which causes them to turn off without warning as the vehicles slow to a stop or prepare to

make a turn with the clutch pressed in and vehicle in neutral or when their brakes are applied,

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causing them to pose dangerous conditions for the Class Vehicles’ occupants and others on the

roadway.

        237.       The dealers were not intended to be the ultimate consumers of the subject

vehicles, and have no rights under the warranty agreements provided by Volkswagen.

Volkswagen’s warranties were designed for and intended to benefit the consumers only.

Therefore, the consumers of the Class Vehicles, including Plaintiffs, were third-party

beneficiaries.

        238.       Defendants were provided notice of these issues by numerous informal and

formal complaints filed against them, including this Complaint, and by numerous individual

letters and communications sent by Plaintiffs and other Class members.

        239.       As a direct and proximate result of Defendants’ breach of the warranties of

merchantability, Plaintiffs and the other Class members have been damaged in an amount to be

proven at trial.

                                       COUNT XII
                               COMMON LAW FRAUD
  (On Behalf of the Nationwide Class, and/or the Florida and/or the New York and/or the
                             California and/or Ohio Classes)

        240.       Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

        241.       Defendants made material omissions concerning a presently existing or past fact.

For example, Defendants did not fully and truthfully disclose to its customers the true nature of

the inherent defect which causes Class Vehicles to turn off without warning as the vehicles slow

to a stop or prepare to make a turn with the clutch pressed in or when the brakes are applied,

which was not readily discoverable until after the Class Vehicles were purchased. As a result,

Plaintiffs and Class members were fraudulently induced to lease and/or purchase the Class

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Vehicles with the said Engine Stalling Defect and all of the resultant problems.

       242.    These omissions were made by Defendants with knowledge of their materiality,

and with the intent that Plaintiffs and Class members rely upon them.

       243.    Plaintiffs and Class members reasonably relied on these omissions and suffered

damages as a result.

                                       COUNT XIII
       BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
  (On Behalf of the Nationwide Class, and/or the Florida and/or the New York and/or the
                             California and/or Ohio Classes)

       244.    Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

       245.    Every contract in New York and Florida contains an implied covenant of good

faith and fair dealing. The implied covenant of good faith and fair dealing is an independent duty

and may be breached even if there is no breach of a contract’s express terms.

       246.    Defendants breached the covenant of good faith and fair dealing through

malicious conduct by, inter alia, failing to notify Plaintiffs and Class members of the Engine

Stalling Defect in the Class Vehicles, and failing to fully and properly repair the defect.

       247.    Defendants acted in bad faith and/or with a malicious motive to deny Plaintiffs

and Class members some benefit of the bargain originally intended by the parties, thereby

causing them injuries in an amount to be determined at trial.

                                  COUNT XIV
              VIOLATIONS OF THE CONSUMER SALES PRACTICES ACT
                      (OHIO REV. CODE § 1345.01, ET SEQ.)
                           (On Behalf of the Ohio Class)

       248.    Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.



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       249.    Plaintiff Bivens brings this claim on behalf of himself and the members of the

Ohio Class against Defendants.

       250.    Plaintiff and the other Ohio Subclass members are “consumers” as defined by the

Ohio Consumer Sales Practices Act, OHIO REV. CODE § 1345.01 (“OCSPA”). Defendants are

“suppliers” as defined by the OCSPA. Plaintiff’s and the other Ohio Subclass members’

purchases or leases of the Class Vehicles were “consumer transactions” as defined by the

OCSPA.

       251.    By willfully failing to disclose and actively concealing the Engine Stalling Defect,

Defendants engaged in deceptive business practices prohibited by the OCSPA, including (1)

representing that the Class Vehicles have characteristics, uses, benefits, and qualities which they

do not have, (2) representing that the Class Vehicles are of a particular standard, quality, and

grade when they are not, (3) advertising the Class Vehicles with the intent not to sell them as

advertised, and (4) engaging in acts or practices which are otherwise unfair, misleading, false, or

deceptive to the consumer.

       252.    In the course of its business, Defendants willfully failed to disclose and actively

concealed the Engine Stalling Defect discussed herein, and otherwise engaged in activities with a

tendency or capacity to deceive. Defendants also engaged in unlawful trade practices by

employing deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

suppression, or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Class Vehicles.

       253.    Defendants knew the vehicles they provided suffered from the Engine Stalling

Defect and knew that the Class Vehicles did not operate safely, as advertised. Defendants knew

this for years, but concealed all information concerning the Engine Stalling Defect.



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       254.    Defendants was also aware that it valued profits over safety, and that it was

manufacturing, selling, and distributing vehicles throughout the United States that did not

perform as advertised and jeopardized the safety of the vehicle’s occupants. Defendants

concealed this information as well.

       255.    By failing to disclose that the Class Vehicles did not operate safely because of the

Engine Stalling Defect, by marketing its vehicles as safe, reliable, and of high quality, and by

presenting itself as a reputable manufacturer that valued safety and stood behind its vehicles after

they were sold, Defendants engaged in deceptive business practices in violation of the OCSPA.

       256.    Defendants’ unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiff Bivens and the other Ohio Subclass members,

about the true performance of the Class Vehicle with the Engine Stalling Defect, the quality of

the Defendants brand, the devaluing of safety and performance at Defendants, and the true value

of the Class Vehicles.

       257.    Defendants intentionally and knowingly misrepresented material facts regarding

the Class Vehicles with an intent to mislead Plaintiff and the Ohio Subclass.

       258.    Defendants knew or should have known that its conduct violated the OCSPA.

       259.    As alleged above, Defendants made material statements about the safety and

utility of the Class Vehicles and the Defendants brand that were either false or misleading.

       260.    Defendants owed Plaintiffs a duty to disclose the true safety, performance, and

reliability of the Class Vehicles, and the devaluing of safety and performance at Defendants,

because Defendants:




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               a.      Possessed exclusive knowledge that it valued profits and cost-cutting over

       safety and performance, and that it was manufacturing, selling, and distributing vehicles

       throughout the United States that did not perform as advertised;

               b.      Intentionally concealed the foregoing from Plaintiffs and the Class; and/or

               c.      Made incomplete representations about the safety and performance of the

       Class Vehicles generally, and the Engine Stalling Defect in particular, while purposefully

       withholding material facts from Plaintiffs and the Class that contradicted these

       representations.

       261.    Because Defendants fraudulently concealed the Engine Stalling Defect and the

true performance of the Class Vehicles, resulting in a raft of negative publicity once the defects

finally began to be disclosed, the value of the Class Vehicles has diminished. In light of the

stigma attached to those vehicles by Defendants’ conduct, they are now worth significantly less

than they otherwise would be.

       262.    Because Defendants fraudulently concealed the Engine Stalling Defect and the

true performance of the Class Vehicles, resulting in a raft of negative publicity once the defects

finally began to be disclosed, the value of the Class Vehicles has diminished. In light of the

stigma attached to those vehicles by Defendants’ conduct, they are now worth significantly less

than they otherwise would be.

       263.    The Ohio Attorney General has made available for public inspection prior state

court decisions which have held that the acts and omissions of Defendants in this Complaint,

including, but not limited to, the failure to honor both implied warranties and express warranties,

the making and distribution of false, deceptive, and/or misleading representations, and the

concealment and/or non-disclosure of a dangerous defect, constitute deceptive sales practices in



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violation of the OCSPA. These cases include, but are not limited to, the following:

       a.      Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

       b.      State ex rel. Betty D. Montgomery v. Volkswagen Motor Co. (OPIF #10002Engine
       Stalling);

       c.    State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc. (OPIF
       #10002025);

       d.     Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App. LEXIS 1573
       (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);

       e.     Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App. LEXIS 525
       (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);

       f.      State ex rel. Jim Petro v. Craftmatic Organization, Inc. (OPIF #10002347);

       g.    Mark J. Craw Volkswagen, et al. v. Joseph Airport Toyota, Inc. (OPIF
       #10001586);

       h.      State ex rel. William J. Brown v. Harold Lyons, et al. (OPIF #10000304);

       i.      Brinkman v. Mazda Motor of America, Inc. (OPIF #10001427);

       j.      Khouri v. Don Lewis (OPIF #100001995);

       k.      Mosley v. Performance Mitsubishi aka Automanage (OPIF #10001326);

       l.      Walls v. Harry Williams dba Butch’s Auto Sales (OPIF #10001524); and

       m.      Brown v. Spears (OPIF #10000403).

       264.    As a result of its violations of the OCSPA, as detailed above, Defendants caused

actual damage to Plaintiff and, if not stopped, will continue to harm Plaintiff. Plaintiff currently

owns a Class Vehicle that is defective. The Engine Stalling Defect has caused the value of the

Class Vehicles to decrease.

       265.    Plaintiff and the Class sustained damages as a result of Defendants’ unlawful acts

and are therefore entitled to damages and other relief as provided under the OCSPA.

       266.    Because Defendant fraudulently concealed the Engine Stalling Defect and the true

performance of cars suffering from the Engine Stalling Defect, resulting in a raft of negative

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publicity once the defects finally began to be disclosed, the value of the Class Vehicles has

diminished. In light of the stigma attached to those vehicles by Defendants’ conduct, they are

now worth less than they otherwise would be.

       267.    Plaintiffs also seek court costs and attorneys’ fees as a result of Defendants’

violations of the OCSPA, as provided in OHIO REV. CODE § 1345.09.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and members of the Class,

respectfully request that this Court:

       A.      determine that the claims alleged herein may be maintained as a class action

               under Rule 23 of the Federal Rules of Civil Procedure, and issue an order

               certifying the Class as defined above;

       B.      appoint Plaintiffs as the representatives of the Class and their counsel as Class

               counsel;

       C.      award all actual, general, special, incidental, statutory, punitive, and consequential

               damages to which Plaintiffs and Class members are entitled;

       D.      award pre-judgment and post-judgment interest on such monetary relief;

       E.      grant appropriate injunctive and/or declaratory relief, including, without

               limitation, an order that requires Defendants to repair, recall, and/or replace the

               Class Vehicles and to extend the applicable warranties to a reasonable period of

               time, or, at a minimum, to provide Plaintiffs and Class members with appropriate

               curative notice regarding the existence and cause of the design defect;

       F.      award reasonable attorney’s fees and costs; and

       G.      grant such further relief that this Court deems appropriate.



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                                DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury on all issues so triable.



Dated: December 2, 2020                          Respectfully submitted,


                                                  /s/ Matthew D. Schelkopf
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